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11                               UNITED STATES DISTRICT COURT

12                            NORTHERN DISTRICT OF CALIFORNIA

13   LYNN SLOVIN, an individual, on her own         Case No. 4:15-cv-05340-YGR
     behalf and on behalf of all others similarly
14                                                  Hon. Yvonne Gonzalez Rogers
     situated,
15                                                  ORDER GRANTING PRELIMINARY
                             Plaintiff,
                                                    APPROVAL OF STIPULATION AND
16                                                  AGREEMENT OF SETTLEMENT AND
            v.
                                                    AMENDMENT THERETO
17                                                  AS MODIFIED BY THE COURT;
     SUNRUN, INC., a California corporation,
18   CLEAN ENERGY EXPERTS, LLC, a                   SCHEDULING ORDER
     California limited liability company doing
19   business as SOLAR AMERICA, and DOES 1
     through 5, inclusive,
20

21                           Defendants.

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 1                                           INTRODUCTION

 2          Pending is the Unopposed Motion for Preliminary Approval of Stipulation and Agreement

 3   of Settlement, Conditional Class Certification, Notice to Class Members and Entry of Scheduling

 4   Order (the “Motion”) of plaintiffs Lynn Slovin, Samuel Katz, Jeffrey Price, and Justin Birkhofer.

 5   For the reasons stated herein, the Court grants Plaintiffs’ Motion, conditionally certifies the class

 6   for settlement purposes only, preliminarily approves the Stipulation of Settlement, and enters the

 7   schedule set forth below for notice to Settlement Class Members, exclusion and opt-out deadlines,

 8   and for a final approval hearing.

 9          The parties filed a Stipulation and Agreement of Settlement (attached hereto as Exhibit 1),

10   which, together with the Amendment to Stipulation and Agreement of Settlement (attached hereto

11   as Exhibit 2) and the exhibits thereto, as modified by the Court1 (collectively the “Settlement” or

12   “Settlement Agreement”) sets forth the terms and conditions for the settlement (and release of

13   certain claims against Sunrun Inc. (“Sunrun”) and Clean Energy Experts, LLC (“CEE”)

14   (collectively, “Sunrun/CEE” or “Defendants”). The Settlement Agreement was entered into only

15   after extensive arm’s-length negotiation by experienced counsel and in mediation under the

16   guidance of the Honorable Edward A. Infante (Ret.), JAMS mediator Bruce Friedman, Esq., and

17   Magistrate Judge Jacqueline Scott Corley;

18          The Court having considered the Settlement Agreement (which defines the capitalized terms

19   used herein) and all of the files, records, and proceedings herein, and it appearing to the Court that
20   upon preliminary examination that the Settlement appears fair, reasonable and adequate, and that a

21   hearing should and will be held after Class Notice to the Settlement Class to confirm that the

22   Settlement is fair, reasonable, and adequate, and to determine whether a Judgment approving the

23   Settlement and an Order dismissing the Action based upon the Settlement be entered;

24          NOW, THEREFORE, IT IS HEREBY ORDERED:

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              The Court notes that it has made minor edits to the short- and long-form notices which
28   are incorporated and highlighted in Exhibits B and D hereto.


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 1   I.       THE CLASS, REPRESENTATIVE PLAINTIFFS, AND CLASS COUNSEL

 2            1.     For purposes of settlement only, the Court has jurisdiction over the subject matter of
 3   this action and personal jurisdiction over the parties and the members of the Settlement Class
 4   described below.
 5            2.     Pursuant to Rule 23(b)(3) of the Federal Rules of Civil Procedure, and for the
 6   purposes of settlement only, the Settlement Class is preliminarily certified, consisting of the
 7   following:
 8            “Settlement Class” means all persons in the United States, from November 20, 2011
              to August 31, 2018, who received from or on behalf of Sunrun and/or CEE, or from
 9            a third party generating leads for Sunrun and/or CEE: (1) one or more calls on their
10            cellphones, or (2) at least two telemarketing calls during any 12-month period where
              their phone numbers appeared on a National or State Do Not Call Registry or
11            Sunrun’s and/or CEE’s Internal Do Not Call List more than 30 days before the calls.

12            The following are excluded from the Settlement Class: (1) any trial judge and other
              judicial officers that may preside over this case; (2) the Mediators (3) Sunrun/CEE,
13            as well as any parent, subsidiary, affiliate or control person of Sunrun/CEE, and the
              officers, directors, agents, servants or employees of Sunrun/CEE; (4) any of the
14
              Released Parties; (5) any Settlement Class Member who has timely submitted a
15            Request for Exclusion by the Opt-Out Deadline; (6) any person or entity who has
              previously given a valid release of the claims asserted in the Action; (7) Plaintiffs’
16            Counsel; and (8) persons for whom CEE or Sunrun has a record demonstrating “prior
              express written consent,” as defined by the TCPA.
17
              3.     Pursuant to Fed. R. Civ. P. 23, and for settlement purposes only, Plaintiffs Lynn
18
     Slovin, Samuel Katz, Jeffrey Price, and Justin Birkhofer are hereby appointed Representative
19
     Plaintiffs (“Plaintiffs” or “Representative Plaintiffs”) and the following counsel are hereby
20
     appointed as Class Counsel:
21
                                             David C. Parisi, Esq.
22
                                        Suzanne Havens Beckman, Esq.
23                                        PARISI & HAVENS LLP
                                         212 Marine Street, Suite 100
24                                         Santa Monica, CA 90405

25                                        Yitzchak Lieberman, Esq.
                                             Grace Parasmo, Esq.
26
                                       PARASMO LIEBERMAN LAW
27                                     7400 Hollywood Boulevard, #505
                                           Los Angeles, CA 90046
28


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 1           4.      The Court preliminarily finds that the proposed Settlement Class meets all the

 2   applicable requirements of Fed. R. Civ. P. 23(a) and (b)(3), and hereby certifies the Settlement Class

 3   for settlement purposes only. The Court hereby preliminarily finds, in the specific context of the

 4   Class Settlement, that:

 5                   (a)       Numerosity: The Settlement Class satisfies the numerosity requirement of

 6   Fed. R. Civ. P. 23(a). Joinder of these widely dispersed, numerous Settlement Class Members into

 7   one suit would be impracticable.

 8                   (b)       Commonality: There are questions of law and fact, with regard to the alleged

 9   activities of Defendants, common to the Settlement Class.

10                   (c)       Typicality: The claims of the Representatives Plaintiffs are typical of the

11   claims of the Settlement Class they seek to represent. Therefore, in the context of this settlement

12   the element of typicality is satisfied.

13                   (d)       Adequate Representation: The Representative Plaintiffs’ interests do not

14   conflict with, and are co-extensive with, those of absent Settlement Class Members.               The

15   Representative Plaintiffs will fairly and adequately represent the interests of the Settlement Class.

16   Additionally, this Court recognizes the experience of Class Counsel and finds under Fed. R. Civ.

17   P. 23(g) that the requirement of adequate representation of the Settlement Class has been fully met.

18                   (e)       Predominance of Common Issues: The questions of law and fact common to

19   the Settlement Class Members predominate over any questions affecting only individual Settlement
20   Class Members. In the context of this Settlement, these issues predominate over any individual

21   questions, favoring class treatment.

22                   (f)       Superiority of the Class Action Mechanism: The class action mechanism is

23   ideally suited for treatment of the settlement of these matters.        Class certification promotes

24   efficiency and uniformity of judgment, among other reasons, because the many Settlement Class

25   Members will not be forced to separately pursue claims or execute settlements in various courts

26   around the country. Therefore, the class action mechanism is superior to other available methods
27   for the fair and efficient adjudication of the controversy.

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 1            5.    The Court further finds that (i) the Settlement Class Members have a limited interest

 2   in individually prosecuting the claims at issue; (ii) the Court is satisfied with Class Counsel’s

 3   representation that they are unaware of any other litigation commenced regarding the claims at issue

 4   by the Settlement Class Members, with the exception of: Jessica Taylor, et al. v. Sunrun Inc. and

 5   Clean Energy Experts, LLC, Case No. 5:18-cv-01207-JGB-SHK (C.D. Cal.) (Compl. filed June 5,

 6   2018); Louie Va v. Sunrun Inc., Case No. 1:18-cv-00856-JHR-KBM (D. N.M.) (Notice of Removal

 7   filed Sept. 12, 2018); and Laurence Barker v. Sunrun Inc., Case No. 1:18-cv-00855-KK-LF (D.

 8   N.M.) (Notice of Removal filed Sept. 12, 2018); (iii) it is desirable to concentrate the claims in this

 9   forum; and (iv) it is unlikely that there will be difficulties encountered in administering this

10   Settlement.

11            6.    The Representative Plaintiffs are Lynn Slovin, Samuel Katz, Jeffery Price, and Justin

12   Birkhofer. Based upon the Court’s familiarity with the claims and parties, and the negotiation and

13   mediation process overseen by the Honorable Edward A. Infante (Ret.), JAMS mediator Bruce

14   Friedman, Esq., and Magistrate Judge Jacqueline Scott Corley, the Court preliminarily finds that

15   these designated Representative Plaintiffs are appropriate for settlement purposes. The Court finds

16   that the Representative Plaintiffs are members of the Settlement Class.

17            7.    If the Settlement Agreement is terminated or is not consummated for any reason

18   whatsoever, the certification of the Settlement Class shall be void, and Plaintiffs and Defendants

19   shall be deemed to have reserved all of their rights as set forth in the Settlement Agreement,
20   including but not limited to the issues related to all claims, defenses, and issues under Fed. R. Civ.

21   P. 23.

22   II.      THE SETTLEMENT FUND

23            8.    Pursuant to the Settlement Agreement, Sunrun/CEE shall deposit a total of five
24   million five hundred thousand dollars ($5,500,000) into the Settlement Fund when this Settlement
25   becomes Final, as per the terms of the Settlement Agreement. The Settlement Fund will be
26   maintained by the Settlement Administrator for the benefit of the Settlement Class and Class
27   Counsel. All of the monies deposited by Sunrun/CEE into the Settlement Fund will be placed in an
28   interest bearing escrow account established and maintained by the Settlement Administrator. The


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 1   interest generated, if any, will accrue to the benefit of the Settlement Class and is to be added into

 2   the Settlement Fund. Sunrun/CEE shall make deposits into the Settlement Fund in accordance with

 3   the following schedule:

 4                  a.      Within fifteen (15) days of the entry of the Preliminary Approval Order,

 5   Sunrun/CEE will disburse to the Settlement Administrator two hundred fifty thousand dollars

 6   ($250,000) of the Settlement Fund to be used by the Settlement Administrator for preliminary

 7   Settlement Administration Costs, including the costs to complete the Class Notice, establish and

 8   maintain the Settlement Website, establish and maintain a toll-free number for questions by class

 9   members, as well as any other initial administration costs to the Parties. To the extent that additional

10   Settlement Administration Costs are incurred after this initial payment, but before the Effective

11   Date, the Settlement Administrator will bill, and Sunrun/CEE shall pay, such additional costs. For

12   any additional costs of Settlement Administration that are paid by Sunrun/CEE, Sunrun/CEE shall

13   receive a credit against the amounts required to be paid into the Settlement Fund.

14                  b.      All Settlement Administration Costs will be drawn from the Settlement Fund

15   by the Settlement Administrator, subject to the written approval of Sunrun/CEE (via their counsel)

16   and Class Counsel.

17                  c.      Sunrun/CEE will disburse to the Settlement Administrator the remainder of

18   the Settlement Fund within fifteen (15) days following the Effective Date.

19          9.      The Settlement Fund will constitute Sunrun/CEE’s exclusive payment obligation
20   under the Settlement Agreement and will be used to pay: (a) Cash Benefits paid to Settlement Class

21   Members, as prescribed by the Settlement Agreement; (b) Attorneys’ Fees and Costs, as awarded

22   by the Court; (c) any Incentive Award awarded to Lynn Slovin, Samuel Katz, Jeffrey Price, and

23   Justin Birkhofer; (d) Settlement Administration Costs, including costs of notice (including CAFA

24   Notice); and (e) any cy pres payment to Electronic Frontier Foundation pursuant to the procedures

25   described in Section 7.4 of the Settlement Agreement. No portion of the Settlement Fund will be

26   returned to Sunrun/CEE, except as provided in Section 11 of the Settlement Agreement, Termination
27   of the Agreement.

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 1          10.      Any distribution of the Settlement Fund to the Settlement Class or any other person,

 2   other than the Settlement Administrator pursuant to the terms hereof, shall commence only after the

 3   Effective Date. The Aggregate Fees, Costs, and Expenses shall be paid from the Settlement Fund

 4   prior to any distribution of Cash Benefits to the Settlement Class. The remainder of the Settlement

 5   Fund shall be used to pay Cash Benefits in accordance with the rules set forth herein.

 6          11.      If the Settlement Agreement is not approved or for any reason the Effective Date

 7   does not occur, no payments or distributions of any kind shall be made, other than payments to the

 8   Settlement Administrator for services rendered and costs incurred.

 9          12.      The Court finds that the Settlement Fund is a “qualified settlement fund” as defined

10   in Section l.468B-1(c) of the Treasury Regulations in that it satisfies each of the following

11   requirements:

12                   (a)    The escrow account for the Settlement Fund is established pursuant to this

13   Order and is subject to the continuing jurisdiction of this Court;

14                   (b)    The escrow account for the Settlement Fund is established to resolve or

15   satisfy one or more Approved Claims that have resulted or may result from an event that has

16   occurred and that has given rise to at least one Approved Claim asserting liability arising out of an

17   alleged violation of law; and

18                   (c)    The assets of the escrow account for the Settlement Fund are segregated from

19   other assets of Sunrun/CEE, the transferors of the payment to the Settlement Fund.
20
            13.      Under the “relation back” rule provided under Section 1.468B-1(j)(2)(i) of the
21
     Treasury Regulations, the Court finds that:
22
                     (a)    The escrow account for the Settlement Fund meets the requirements of
23
     paragraphs 12(b) and 12(c) of this Order prior to the date of this Order approving the establishment
24
     of the Settlement Fund subject to the continued jurisdiction of this Court; and
25
                     (b)    Sunrun/CEE and the Settlement Administrator may jointly elect to treat the
26
     escrow account for the Settlement Fund as coming into existence as a “qualified settlement fund”
27
     on the later of the date the escrow account for the Settlement Fund met the requirements of paragraph
28
     12 of this Order or January 1 of the calendar year in which all of the requirements of paragraph 12


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 1   of this Order are met. If such a relation-back election is made, the assets held by the Settlement

 2   Fund on such date shall be treated as having been transferred to the escrow account on that date.

 3   III.   NOTICE TO SETTLEMENT CLASS MEMBERS

 4          14.     The Court has considered the proposed Exhibits B and D attached to the Settlement
 5   Agreement and finds that the form, content, and manner of notice proposed by the parties and
 6   approved herein meet the requirements of due process and Fed. R. Civ. P. 23(c) and (e), are the best
 7   notice practicable under the circumstance, constitute sufficient notice to all persons and entities
 8   entitled to notice, and satisfy the Constitutional requirements of notice. The Court approves the
 9   notices in all respects, including the proposed forms of notice and the notice provisions of the
10   Settlement Agreement, and orders that notice be given in substantial conformity therewith. The
11   costs of disseminating the Class Notice shall be paid from the Settlement Fund in accordance with
12   the Settlement Agreement.
13          15.     All costs of providing the Class Notice as provided herein, including the costs of
14   identifying address information for Settlement Class Members and the costs of printing, web hosting
15   and/or publishing the Class Notice, shall be paid for out of the Settlement Fund, subject to the terms
16   hereof. In the event that the Settlement Agreement is terminated pursuant to its terms, Sunrun/CEE
17   shall bear any costs of providing Class Notice already incurred.
18          16.     The Court hereby approves the form, content and requirements of the Class Notices
19   annexed to the Settlement Agreement as Exhibits B and D and the procedure for notice set forth
20   under Section 6 in the Settlement Agreement.
21          17.     The Court hereby finds that compliance with the procedures in Section 6 of the
22   Settlement Agreement is the best notice practicable under the circumstances and shall constitute due
23   and sufficient notice to the Settlement Class of the pendency of the Action, certification of the
24   Settlement Class, the terms of the Settlement Agreement, and the Final Approval Hearing, and shall
25   satisfy the requirements of the Federal Rules of Civil Procedure, the United States Constitution, and
26   any other applicable law, rule and/or regulation.
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 1   IV.    CONFIDENTIALITY

 2          18.     Any information received by the Settlement Administrator in connection with the
 3   Settlement Class that pertains to a particular Settlement Class Member, or information submitted in
 4   conjunction with a Request for Exclusion (other than the identity of the entity requesting exclusion),
 5   shall not be disclosed to any other person or entity other than Class Counsel, Defendants’ Counsel,
 6   and the Court, or as otherwise provided in the Settlement Agreement.
 7   V.     REQUEST FOR EXCLUSION FROM THE SETTLEMENT CLASS
 8          19.     Settlement Class Members who wish to be excluded from Settlement Class shall mail
 9   a written Request for Exclusion to the Settlement Administrator, so that it is postmarked no later
10   than ninety (90) days after the entry of the Notice Date (the “Opt-Out Deadline”), and shall clearly
11   state the following: the name, address, telephone number, of the individual or entity who wishes to
12   be excluded from the Settlement Class, and provide all such information as may be required by the
13   Settlement Agreement or requested by the Settlement Administrator.
14   VI.    APPOINTMENT OF SETTLEMENT ADMINISTRATOR
15          20.     The Court appoints Kurtzman Carson Consultants as the Settlement Administrator.
16   Responsibilities of the Settlement Administrator shall include the following: (a) completing Class
17   Notice, as provided in Section 6 of the Settlement Agreement; (b) obtaining complete address
18   information for Settlement Class Members (where possible) and new addresses for returned mail;
19   and (c) creating and maintaining a Settlement Website, from which Settlement Class Members can
20   access copies of the Complaint, the Settlement Agreement, the Short Form Notice, the Long Form
21   Notice, this Preliminary Approval Order and other important documents and information about the
22   Settlement; (d) setting up and maintaining a toll-free telephone number and fielding telephone
23   inquiries about the Settlement; (e) reviewing, processing and approving Claims; (f) acting as a
24   liaison between Settlement Class Members and the Parties; (g) directing the mailing of Benefit
25   Checks to Settlement Class Members; (h) providing copies of any requests for exclusion that are
26   received to Defendants’ and Class Counsel as they are received; (i) preparing and providing a
27   declaration to Defendants’ and Class Counsel, no later than seven (7) calendar days prior to the
28   Final Approval Hearing, that will attest to the compliance with the provisions of the Settlement


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 1   Agreement related to Class Notice and list each Settlement Class Member who timely and validly

 2   opted out of the Settlement; and (j) performing any other tasks reasonably required to effectuate the

 3   Settlement.

 4   VII.   FINAL APPROVAL HEARING AND SCHEDULE

 5          21.     A hearing (the “Final Approval Hearing”) pursuant to Fed. R. Civ. P. 23(e) is hereby
 6   scheduled to be held before the Court for the following purposes:
 7          (a)            to determine whether the applicable prerequisites for settlement of a class
 8   action under Fed. R. Civ. P. 23(a) and (b) are met;
 9          (b)            to determine whether the Settlement is fair, reasonable and adequate, and
10   should be approved by the Court;
11          (c)            to determine whether any objections to the Settlement should be overruled;
12          (d)            to determine whether the Attorneys’ Fees and Costs requested by Class
13   Counsel and Incentive Awards to the Representative Plaintiffs should be approved, and whether a
14   Judgment finally approving the Settlement should be entered;
15          (e)            to consider the distribution of the Settlement Fund pursuant to the Stipulation
16   of Settlement; and
17          (f)            to rule upon such other matters as the Court may deem appropriate.
18          22.     Class Counsel shall file a Motion for Final Approval, and respond to any objections
19   to the Settlement, no less than fourteen days (14) before the Final Approval Hearing. The Final
20   Approval Hearing may be postponed, adjourned, transferred or continued by order of the Court
21   without further notice to the Settlement Class. After the Final Approval Hearing, the Court may
22   enter a Judgment approving the Settlement Agreement and an Order dismissing the Action in
23   accordance with the Settlement Agreement that will adjudicate the rights of all Settlement Class
24   Members.
25          23.     No less than seven (7) calendar days prior to the Final Approval Hearing, the
26   Settlement Administrator will file with the Court and serve both Class Counsel and Defendants’
27   Counsel a declaration stating that the Class Notice required by the Settlement Agreement has been
28   completed in accordance with the terms of this Preliminary Approval Order.


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 1          24.     No less than thirty five (35) days prior to the Claim Deadline, Class Counsel shall

 2   file and serve (i) a motion for Attorneys’ Fees and Costs; and (ii) any application for an Incentive

 3   Awards to the Representative Plaintiffs.

 4          25.     Therefore, the Court SETS the following Deadlines:

 5         Class Notice Mailed (and emailed                March 1, 2019
           where     email  addresses   are
 6         available) by:
 7         Class Counsels’ Fee and Cost                    April 5, 2019
           Application by:
 8
           Objection/Opt-Out/Claims must be                May 31, 2019
 9         electronically   submitted    or
           postmarked by:
10
           Final Approval Submissions to be                June 18, 2019
11         filed by:
12         Final Approval Hearing                          July 9, 2019, at 2:00 p.m. in
                                                           Courtroom One
13

14          26.     Pending final determination of whether the Settlement should be approved, the

15   Plaintiffs and/or Defendants shall cooperate in seeking orders that no Settlement Class Member

16   (either directly, in a representative capacity, or in any other capacity), and anyone who acts or

17   purports to act on their behalf, shall institute, commence or prosecute any action that asserts

18   Released Claims against the Defendants or other Released Parties.

19          27.     If a Settlement Class Member wants to appear at the Final Approval Hearing and be

20   heard with respect to objecting to the Settlement, that person or entity must file with the Court and

21   serve on Class Counsel and Defendants’ Counsel a written notice of the intention to appear at the

22   Final Approval Hearing and object. Such written statement and notice must be submitted to the

23   Court either by mailing them to the Class Action Clerk, United States District Court for the Northern

24   District of California, 1301 Clay Street, Oakland, CA 94612, or by filing them in person at any

25   location of the United States District Court for the Northern District of California, and post marked

26   no later than ninety (90) days after entry of the Preliminary Approval Order (the “Objection

27   Deadline”). Settlement Class Members who fail to file timely written objections in the manner

28   specified above shall be deemed to have waived any objections and shall be foreclosed from making



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 1   any objection (whether by appeal or otherwise) to the Settlement. If a Settlement Class Member

 2   wishes to present witnesses or evidence at the Final Approval Hearing in support of a timely and

 3   validly submitted objection, all witnesses must be identified in the objection, and true and correct

 4   copies of all supporting evidence must be appended to, or served with, the objection. Failure to

 5   identify witnesses or provide copies of supporting evidence in this manner waives any right to

 6   introduce such testimony or evidence at the Final Approval Hearing. If a Settlement Class Member

 7   hires an attorney to represent him or her, at the Settlement Class Member’s own expense, that

 8   attorney must file a notice of appearance with the clerk of the Court on or before the Objection

 9   Deadline.

10   VIII. OTHER PROVISIONS

11          28.     If the Settlement does not become effective, the order certifying the Settlement Class
12   and all preliminary and/or final findings or stipulations regarding certification of the Settlement
13   Class shall be automatically vacated, voided and treated as if never filed, and the parties will retain
14   and reserve all positions with respect to the litigation, and the litigation shall proceed as if no
15   settlement had been reached.
16          29.     The Court finds that Defendants have made no admissions of liability or wrongdoing
17   of any kind associated with the alleged claims in the operative Complaint. Defendants have made
18   no admission of liability or wrongdoing regarding each and every material factual allegation and all
19   claims asserted against it in the Action. Nothing herein will constitute an admission of wrongdoing
20   or liability, or of the truth of any allegations in the Action. Nothing herein will constitute an
21   admission by Defendants that the Action is properly brought on a class or representative basis, or
22   that class(es) may be certified, other than for settlement purposes. The Court further finds that the
23   Settlement of the Action, the negotiation and execution of this Settlement, and all acts performed or
24   documents executed pursuant to or in furtherance of the Settlement: (i) are not and will not be
25   deemed to be, and may not be used as, an admission or evidence of any wrongdoing or liability on
26   the part of Defendants or of the truth of any allegations in the Action; (ii) are not and will not be
27   deemed to be, and may not be used as an admission or evidence of any fault or omission on the part
28   of Defendants in any civil, criminal, or administrative proceeding in any court, arbitration forum,


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 1   administrative agency, or other tribunal; and (iii) are not and will not be deemed to be and may not

 2   be used as an admission of the appropriateness of these or similar claims for class certification.

 3          30.     The Court retains jurisdiction to consider all further matters arising out of or

 4   connected with the Settlement.

 5          This terminates Docket No. 189.

 6          IT IS SO ORDERED.

 7
           January 29, 2019
     DATED:________________
 8                                             YVONNE GONZALEZ ROGERS
                                             UNITED STATES DISTRICT COURT JUDGE
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Exhibit 1
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                         UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF CALIFORNIA


LYNN SLOVIN, an individual, on her own                Case No. 4:15-cv-05340-YGR
behalf and on behalf of all others similarly
situated,                                             Hon. Yvonne Gonzalez Rogers
                   Plaintiff,

        v.
SUNRUN, INC., a California corporation,
CLEAN ENERGY EXPERTS, LLC, a
California limited liability company doing
business as SOLAR AMERICA, and DOES 1-5,
inclusive,

                   Defendants.


                  STIPULATION AND AGREEMENT OF SETTLEMENT

               It is hereby stipulated and agreed by and among the undersigned Parties (defined

below), subject to the approval of the Court, that the settlement of this Action (defined below)

shall be effectuated pursuant to the terms and conditions set forth in this Stipulation and Agreement

of Settlement (the “Agreement” or “Settlement Agreement”).

1.     RECITALS

       1.1     Slovin, et al. v. Sunrun, Inc. et al., No. 4:15-cv-05340-YGR (the “Action”), was

filed November 20, 2015, and is currently pending before the Honorable Yvonne Gonzalez Rogers

of the U.S. District Court for the Northern District of California. The Complaint in the Action

alleges claims against Sunrun, Inc. (“Sunrun”) and Clean Energy Experts, LLC (“CEE”)

(collectively, “Sunrun/CEE” or “Defendants”) under the Telephone Consumer Protection Act

(“TCPA”), 47 U.S.C. § 227 et seq., alleging that either Sunrun, CEE or third parties allegedly




                                                 1
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acting on one or both of their behalves, placed unsolicited telemarketing calls to Representative

Plaintiffs (defined below) and members of the putative class (a) on telephone numbers assigned to

wireless subscribers using an automatic telephone dialing system (“ATDS”), and/or (b) on

telephone numbers on the National Do Not Call Registry (“NDNCR”) and/or Sunrun’s/CEE’s

internal do not call lists; and/or (c) using prerecorded voices.

          1.2   Sunrun/CEE dispute the allegations in the Complaint and maintain that they

complied with the TCPA and all applicable laws. Sunrun/CEE also maintain that if this case were

to be litigated, it would not be appropriate for class treatment. The Parties are entering into this

Agreement to avoid the risk and expense of further litigation, to resolve all disputes that have

arisen between them, and to settle any and all claims that do or may exist in the past, present or

future.

          1.3   This Settlement Agreement is the result of good faith, arm’s-length settlement

negotiations that took place over many months.           The Parties have exchanged information

(including through significant discovery, including multiple depositions, and after litigating

multiple discovery disputes); have participated in extensive mediations under the guidance of the

Honorable Edward A. Infante (Ret.), JAMS mediator Bruce Friedman, Esq., and Magistrate Judge

Jacqueline Scott Corley; and have had a full and fair opportunity to evaluate the strengths and

weaknesses of their respective positions.

          1.4   The Parties understand, acknowledge, and agree that the execution of this

Settlement Agreement constitutes the settlement and compromise of disputed claims. This

Settlement Agreement is inadmissible as evidence against any of the Parties except to enforce the

terms of the Settlement Agreement and is not an admission of wrongdoing or liability on the part




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of any Party to this Settlement Agreement. The Parties desire and intend to effect a full, complete

and final settlement and resolution of all existing disputes and claims as set forth herein.

       1.5     The Parties hereby stipulate and agree that, in consideration of the agreements,

promises, and covenants set forth in this Settlement Agreement, and subject to approval of the

Court, the Action shall be fully and finally settled and the Action dismissed with prejudice under

the following terms and conditions:

2.     DEFINITIONS

       2.1     As used herein, the following terms have the meanings set forth below.

               2.1.1    “Action” means the civil action entitled Slovin, et al. v. Sunrun, Inc. et al.,

No. 4:15-cv-05340-YGR (N.D. Cal.).

               2.1.2    “Agreement” or “Settlement Agreement” means this Stipulation and

Agreement of Settlement, including all attached and/or incorporated exhibits.

               2.1.3    “Aggregate Fees, Costs, and Expenses” means the aggregate Fee Award,

the Settlement Administration Costs and any Incentive Awards.

               2.1.4    “Approved Claim” means a claim submitted by a Settlement Class Member

to the Settlement Administrator that is: (a) received by the Settlement Administrator or postmarked

on or before the Claims Deadline; (b) fully and truthfully completed by a Settlement Class Member

with all information requested in the Claim Form, and in accordance with the instructions set forth

on the Claim Form; (c) signed by the Settlement Class Member, physically or electronically; and

(d) approved by the Settlement Administrator pursuant to the provisions of this Agreement as a

valid claim eligible to receive payment from the Settlement Fund under this Agreement and the

Final Approval Order.




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               2.1.5   “Attorneys’ Fees and Costs” means all fees, costs and expenses to be

awarded by the Court as per the Settlement of this Action pursuant to the Fee and Cost Application.

               2.1.6   “Benefit Check” means the negotiable check(s) to be sent to the Settlement

Class Members pursuant to Section 4 herein.

               2.1.7   “CAFA Notice” means the notice of this Settlement to the appropriate

federal and state officials, as provided by the Class Action Fairness Act of 2005, 28 U.S.C. § 1715,

and as further described in Paragraph 6.4.

               2.1.8   “Claims Deadline” means the date that is ninety (90) days after the Notice

Date.

               2.1.9   “Cash Benefit” is defined in Paragraph 4.2.1.

               2.1.10 “Claim Form” means the document to be submitted by a Claimant seeking

payment pursuant to this Settlement, substantially in the form of Exhibit A attached hereto.

               2.1.11 “Claimant” means a Settlement Class Member who submits a Claim Form.

               2.1.12 “Class Counsel” means Parasmo Lieberman Law and Parisi & Havens LLP.

               2.1.13 “Class Notice” means any type of notice that has been or will be provided

to the Settlement Class pursuant to this Agreement and any additional notice that might be ordered

by the Court, including but not limited to the Direct Mail Notice and the Long Form Notice.

               2.1.14 “Class Period” means the period from November 20, 2011 through August

31, 2018.

               2.1.15 “Court” means the U.S. District Court for the Northern District of

California.

               2.1.16 “Complaint” means the Third Amended Complaint filed in the Action.




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               2.1.17 “Defendants” means collectively, Sunrun and CEE, as well as their

respective officers, directors, shareholders, employees, predecessors, affiliates, parents,

subsidiaries, partners, distributors, principals, insurers, administrators, agents, servants,

successors, trustees, vendors, subcontractors, buyers, independent contractors, attorneys,

representatives, heirs, executors, experts, consultants, and assigns of all of the foregoing persons

and entities who placed calls to the Settlement Class that related in any way to Sunrun and/or CEE.

               2.1.18 “Defense Counsel” means Sunrun’s and CEE’s counsel of record in the

Litigation, Kelley Drye & Warren LLP.

               2.1.19 “Direct Mail Notice” or the “Short Form Notice” means the written notice

that will be mailed and emailed to the Settlement Class Members by the Settlement Administrator

and will be substantially in the form of Exhibit B attached hereto.

               2.1.20 “Effective Date” means the first date by which all of the following events

shall have occurred: (a) the Court has entered the Final Approval Order and Judgment substantially

in the form of Exhibit C attached hereto; and (b) the Final Approval Order and Judgment have

both become Final.

               2.1.21 “Fee Award” means the amount of attorneys’ fees and reimbursement of

expenses that is ultimately awarded by the Court to be paid out of the Settlement Fund.

               2.1.22 “Fee and Cost Application” means that written motion or application by

which Plaintiffs and/or Class Counsel request that the Court award Attorneys’ Fees and Costs and

any Incentive Awards.

               2.1.23 “Final” means one business day following the latest of the following events:

(i) the expiration of three (3) business days after the time to file a motion to alter or amend a




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judgment under Fed. R. Civ. P. 59(e) has passed without any such motion having been filed; (ii)

the expiration of the time in which to file an appeal has passed without any appeal having been

taken; and (iii) the resolution of any appeal in a manner that does not reverse or vacate the

Judgment and in a manner that permits the consummation of the Settlement substantially in

accordance with the terms and conditions of this Agreement. Any proceeding or order, or any

appeal pertaining solely to any request or portion of an order regarding the Fee Award will not in

any way delay or preclude the Judgment from becoming Final.

               2.1.24 “Final Approval Hearing” means the final hearing, held after the

Preliminary Approval Order is issued and Settlement Class Members have been given reasonable

notice and an opportunity to object or to exclude themselves from the Settlement, at which the

Court will determine whether to finally approve the Settlement and to enter Judgment.

               2.1.25 “Final Approval Order” means an Order, substantially in form of Exhibit C

attached hereto, providing for, among other things, final approval of the Settlement.

               2.1.26 “Incentive Awards” shall mean the payments awarded by the Court to the

Representative Plaintiffs, as set forth in Paragraphs 5.2 and 5.3.

               2.1.27 “Internal Do Not Call List” means the lists maintained by Sunrun/CEE to

identify those who have notified Sunrun/CEE that they do not wish to receive marketing calls from

Sunrun/CEE.

               2.1.28 “Judgment” means the judgment to be entered by the Court pursuant to the

Settlement.

               2.1.29 “Litigation” means the legal proceedings in the Action.




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               2.1.30 “Long Form Notice” means the notice that shall be made available on the

Settlement Website, in the form attached hereto as Exhibit D.

               2.1.31 “Mediators” shall mean the Hon. Edward Infante (Ret.) and Bruce

Friedman, Esq. of JAMS, Inc.

               2.1.32 “NDNCR” means the National Do Not Call Registry.

               2.1.33 “Notice Date” means the first date on which the Class Notice is

disseminated pursuant to the Notice Plan.

               2.1.34 “Notice Plan” shall mean the plan of disseminating to Settlement Class

Members notice of the proposed Settlement and of the Final Approval Hearing, as approved by

the Court.

               2.1.35 “Objection Deadline” means the date that is ninety (90) days after the

Notice Date.

               2.1.36 “Opt-Out Deadline” means the date that is ninety (90) days after the Notice

Date.

               2.1.37 “Parties” means, collectively, Representative Plaintiffs, Sunrun and CEE.

               2.1.38 “Person” means an individual, corporation, partnership, limited partnership,

association, joint stock company, estate, legal representative, trust, unincorporated association,

government or any political subdivision or agency thereof, any business or legal entity, and such

individual’s or entity’s heirs, predecessors, successors, representatives, and assigns.

               2.1.39 “Plaintiffs” or “Representative Plaintiffs” means Lynn Slovin, Samuel

Katz, Jeffrey Price, and Justin Birkhofer




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               2.1.40 “Preliminary Approval Order” means the Order, substantially in the form

of Exhibit E attached hereto, in which the Court grants its preliminary approval to this Settlement

Agreement and preliminarily certifies the Settlement Class, authorizes dissemination of Class

Notice to the Settlement Class, and appoints the Settlement Administrator. The form of the

Preliminary Approval Order is a material term of this Settlement Agreement.

               2.1.41 “Released Claims” shall mean any and all claims, liabilities, demands,

causes of action, or lawsuits of the Releasing Parties, whether known or unknown, whether legal,

statutory, equitable, or of any other type or form, whether under federal, state, or local law, and

whether brought in an individual, representative, or any other capacity, of every nature and

description whatsoever that were brought in the Litigation or could have been brought in the

Litigation relating in any way to calls by, from, or on behalf of Sunrun or CEE or from a third

party generating leads for Sunrun or CEE, including but not limited to claims for any alleged TCPA

violation or any other telephone or telemarketing-related federal, state or local law, regulation or

ordinance, and claims that in any way relate to automated calls (e.g., those made using an ATDS

and/or artificial or prerecorded voice).

               2.1.42 “Released Parties” means Sunrun and CEE, as well as each, any and all of

their respective heirs, executors, administrators, predecessors, successors, assigns, parent

companies, subsidiaries, divisions, joint ventures, entities in which Sunrun and/or CEE has a

controlling interest, holding companies, employees, agents, servants, trustees, vendors,

subcontractors, buyers, representatives, experts consultants, marketing partners, resellers, lead

generators, telemarketers, independent contractors, insurers, reinsurers, directors, officers,

partners, principals, attorneys, accountants, financial advisors, investors, investment bankers,




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underwriters, shareholders, auditors, legal representatives, successors in interest, affiliates, trusts,

and corporations, and each and all of the past and present officers, directors, principals,

representatives, employees, agents, shareholders, attorneys, successors, executors, and assigns of

any of the foregoing Persons or entities who placed calls to the Settlement Class that related in any

way to Sunrun and/or CEE.

                2.1.43 “Releasing Parties” means: (a) Representative Plaintiffs; (b) Settlement

Class Members who do not timely opt out of the Settlement Class; (c) to the extent that a Settlement

Class Member is not an individual, all of its present former, and future predecessors, successors,

assigns, parents, subsidiaries, joint ventures, and affiliates, and all employees, agents,

representatives, consultants, independent contractors, insurers, directors, officers, partners,

principals, members, attorneys, accountants, financial advisors, investors, investment bankers,

underwriters, shareholders, lenders, and auditors of any of the foregoing Persons; and (d) to the

extent the Settlement Class Member is an individual, any present, former, and future heirs,

executors, estates, administrators, representatives, agents, attorneys, partners, successors,

predecessors and assigns of each of them, and any other representative of any of the foregoing

Persons.

                2.1.44 “Settlement” means the settlement set forth in this Agreement.

                2.1.45 “Settlement Administration Costs” means any and all fees and costs

incurred in administering the Settlement, including but not limited to, the fees and costs of

disseminating all Class Notice, effectuating CAFA Notice, publishing Class Notice, administering

and maintaining the Settlement Website, and delivering Benefit Checks to Settlement Class




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Members, but specifically excluding the payment of all cash benefits, payment of any Incentive

Awards, and payment of the any amounts awarded pursuant to the Fee and Cost Application.

               2.1.46 “Settlement Administrator” means Kurtzman Carson Consultants (KCC).

               2.1.47 “Settlement Class” means all persons in the United States, from November

20, 2011 to August 31, 2018, who received from or on behalf of Sunrun and/or CEE, or from a

third party generating leads for Sunrun and/or CEE: (1) one or more calls on their cellphones, or

(2) at least two telemarketing calls during any 12-month period where their phone numbers

appeared on a National or State Do Not Call Registry or Sunrun’s and/or CEE’s Internal Do Not

Call List more than 30 days before the calls. The following are excluded from the Settlement

Class: (1) any trial judge and other judicial officers that may preside over this case; (2) the

Mediators; (3) Sunrun/CEE, as well as any parent, subsidiary, affiliate or control person of

Sunrun/CEE, and the officers, directors, agents, servants or employees of Sunrun/CEE; (4) any of

the Released Parties; (5) any Settlement Class Member who has timely submitted a Request for

Exclusion by the Opt-Out Deadline; (6) any person or entity who has previously given a valid

release of the claims asserted in the Action; (7) Plaintiffs’ Counsel; and (8) persons for whom CEE

or Sunrun has a record demonstrating “prior express written consent,” as defined by the TCPA.

               2.1.48 “Settlement Class Member” means a person who falls within the definition

of the Settlement Class and who does not opt out of the Settlement as set forth in Paragraph 9.4.

               2.1.49 “Settlement Fund” means the fund into which Sunrun/CEE will transfer

funds to cover all costs, expenses, and fees associated with the Settlement according to the terms

set forth in this Agreement.




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               2.1.50 “Settlement Website” means the website established and maintained by the

Settlement Administrator pursuant to Paragraph 6.3.

               2.1.51 “Settling Parties” means, collectively, Sunrun, CEE, Representative

Plaintiffs, and all Settlement Class Members.

               2.1.52 “TCPA” means the Telephone Consumer Protection Act, 47 U.S.C. § 227,

and any regulations or rulings promulgated under it.

               2.1.53 “Total Class Member Benefits Payout” is defined in paragraph 4.2.1.

               2.1.54 The plural of any defined term includes the singular, and the singular of any

defined term includes the plural.

               2.1.55 When a deadline or date falls on a weekend or a legal Court holiday, the

deadline or date shall be extended to the next business day that is not a weekend or legal Court

holiday.

3.     ALL PARTIES AGREE THAT THEY RECOMMEND APPROVAL OF THE
       SETTLEMENT

       3.1     Sunrun/CEE’s Position On The Conditional Certification Of Settlement Class.

Sunrun/CEE dispute that a class would be manageable and further deny that a litigation class

properly could be certified on the claims asserted in this Litigation. Solely for purposes of avoiding

the expense and inconvenience of further litigation, however, Sunrun/CEE do not oppose the

certification of the Settlement Class for the purposes of this Settlement only. Preliminary

certification of the Settlement Class will not be deemed a concession that certification of a

litigation class is appropriate, nor would Sunrun/CEE be precluded from challenging class

certification in further proceedings in this Litigation or in any other action if the Settlement

Agreement is not finalized or finally approved. If for any reason whatsoever the Court does not



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enter the Final Approval Order or the Settlement Agreement does not become Final, the

certification of the Settlement Class will be void, and no doctrine of waiver, estoppel, or preclusion

will be asserted in any litigated certification proceedings in this Litigation or any other judicial

proceeding. No agreements made by or entered into by Sunrun/CEE in connection with the

Settlement Agreement may be used by Plaintiffs, any Settlement Class Member, or any other

Person to establish any of the elements of class certification in any litigated certification

proceedings, whether in this Litigation or any other judicial proceeding.

        3.2     Plaintiffs’ Position on the Merits of Case. Plaintiffs’ position is that the claims

asserted in this Litigation have merit and that the evidence developed to date supports those claims.

This Settlement will in no event be construed or deemed to be evidence of or an admission or

concession on the part of Plaintiffs that there is any infirmity in the claims asserted by Plaintiffs,

or that there is any merit whatsoever to any of the contentions and defenses that Defendants have

asserted.

        3.3     Plaintiffs Recognize The Benefits Of Settlement.            Plaintiffs recognize and

acknowledge that the expense and amount of time which would be required to continue to pursue

this Litigation against Defendants, as well as the uncertainty, risk, and difficulties of proof inherent

in prosecuting such claims on behalf of the Settlement Class. Plaintiffs have concluded that it is

desirable that this Litigation and any Released Claims be fully and finally settled and released as

set forth in this Settlement. Plaintiffs and Class Counsel believe that the Settlement set forth in

this Agreement confers substantial benefits upon the Settlement Class and that it is in the best

interests of the Settlement Class to settle as described herein.




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4.     SETTLEMENT FUND AND SETTLEMENT CLASS RELIEF

               In consideration of a full, complete, and final settlement of the Action, dismissal of

the Action with prejudice, and the Releases in Section 8 below, and subject to the Court’s approval,

the Parties agree to the following relief:

       4.1     Settlement Fund. As of the Effective Date, Sunrun/CEE will become obligated to

deposit a total of $5,500,000 into the Settlement Fund, subject to the schedule and terms described

below. The Settlement Fund will be maintained by the Settlement Administrator for the benefit

of the Settlement Class and Class Counsel. All of the monies deposited by Sunrun/CEE into the

Settlement Fund will be placed in an interest bearing escrow account established and maintained

by the Settlement Administrator. The interest generated, if any, will accrue to the benefit of the

Settlement Class and will be added into the Settlement Fund. Sunrun/CEE shall make deposits

into the Settlement Fund in accordance with the following schedule:

               4.1.1   Within fifteen (15) days of the entry of the Preliminary Approval Order,

Sunrun/CEE will disburse to the Settlement Administrator two hundred fifty thousand dollars

($250,000.00) of the Settlement Fund to be used by the Settlement Administrator for preliminary

Settlement Administration Costs, including the costs to complete the Class Notice, establish and

maintain the Settlement Website, establish and maintain a toll-free number for questions by

Settlement Class Members, as well as any other initial administration costs to the Parties. To the

extent that additional Settlement Administration Costs are incurred after this initial payment, but

before the Effective Date, the Settlement Administrator may bill, and Sunrun/CEE shall pay, such

additional costs. For any costs of Settlement Administration that are paid by Sunrun/CEE,

Sunrun/CEE shall receive a credit against the total amounts required to be paid into the Settlement




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Fund, such that the total amount paid by Sunrun/CEE shall equal, but in no circumstances exceed,

$5,500,000.

              4.1.2   All Settlement Administration Costs will be drawn from the Settlement

Fund by the Settlement Administrator, subject to the written approval of Sunrun/CEE (by their

counsel) and Class Counsel.

              4.1.3   Sunrun/CEE will disburse to the Settlement Administrator the remainder of

the Settlement Fund within fifteen (15) days following the Effective Date.

       4.2    Payments from the Settlement Fund.

              4.2.1   The total amount distributed to the Settlement Class (the “Total Class

Member Benefits Payout”) shall be the Settlement Fund and any earnings thereon, less the

Settlement Administration Costs and amount awarded by the Court for Attorney’s Fees and Costs

to Class Counsel and any Incentive Awards. The Total Class Member Benefits Payout shall be

distributed to Settlement Class Members who file an Approved Claim on a pro rata and equal

basis. Each Settlement Class Member shall be entitled to submit only one claim, and only one

claim can be made per telephone number, regardless of the number of calls to that phone number.

Each Settlement Class Member who files an Approved Claim shall be paid, by a Benefit Check, a

cash benefit (the “Cash Benefit”) that shall be equal to the Total Class Member Benefits Payout

divided by the total number of Approved Claims.

              4.2.2   Adequate and customary procedures and standards will be used by the

Settlement Administrator to determine Approved Claims, to prevent the payment of fraudulent

claims and to pay only legitimate claims. All claims are subject to verification by Sunrun/CEE

and Class Counsel review. All Settlement Class Members are required to provide or submit certain




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information to verify that they are appropriately claiming a benefit as set forth in the “Claims

Process” section below.

               4.2.3   Payments will be made directly to the Settlement Class Members by the

Settlement Administrator.

               4.2.4   If any Benefit Checks are returned, the Settlement Administrator will

attempt to obtain a new mailing address for that Settlement Class Member. If, after a second

mailing, the Benefit Check is again returned, no further efforts need be taken by the Settlement

Administrator to resend the Benefit Check.

               4.2.5   The Benefit Checks shall state that they are invalid after 180 calendar days

from the date of the check. If any Settlement Class Member fails to negotiate a Benefit Check

within that that period of time, that Settlement Class Member shall forever waive and release his,

her or its claim for payment under this Agreement.

               4.2.6   If any amounts remain in the Settlement Fund because Settlement Class

Members fail to negotiate their respective Benefit Checks, such unclaimed monies shall be

distributed as follows: (a) to the Settlement Class Members who cashed their initial Benefit

Checks, to the extent such a distribution is administratively and economically feasible, and if not

so feasible; (b) to Electronic Frontier Foundation or another cy pres designated recipient, as

approved by the Court.

               4.2.7   Any distribution of the Settlement Fund to the Settlement Class Members

or any other person, other than the Settlement Administrator pursuant to the terms hereof, shall

commence only after the Effective Date. The Aggregate Fees, Costs, and Expenses, as well as any

Incentive Awards, shall be paid from the Settlement Fund prior to any distribution of Benefit




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Checks to the Settlement Class. The remainder of the Settlement Fund shall be used to pay Cash

Benefits in accordance with the rules set forth herein.

               4.2.8   No portion of the Settlement Fund will be returned to Sunrun/CEE, except

as provided in Section 11, Termination of the Agreement.

               4.2.9   If this Settlement Agreement is not approved or for any reason the Effective

Date does not occur, Sunrun/CEE shall have no obligation to make payments or distributions of

any kind, other than payments to the Settlement Administrator for services rendered and costs

incurred.

5.     ATTORNEYS’ FEES, COSTS AND PAYMENT TO PLAINTIFF
       REPRESENTATIVES

       5.1     Attorneys’ Fees and Costs. Class Counsel will file a Fee and Cost Application with

the Court for an award of Attorneys’ Fees and Costs to be paid from the Settlement Fund. Class

Counsel will be entitled to payment of the Attorneys’ Fees and Costs awarded by the Court out of

the Settlement Fund within twenty (20) calendar days of the Effective Date. The Parties have not

reached any agreements concerning the award of Attorneys’ Fees and Costs.

       5.2     Payment of Any Incentive Awards to the Representative Plaintiffs.               The

Representative Plaintiffs will ask the Court to award them each an Incentive Award for the time

and effort that they have invested in the Action. The Parties have not reached any agreements

concerning the award of Incentive Awards, though Class Counsel has indicated that the

Representative Plaintiffs will each seek up to $40,000 for individual incentive awards. Within

twenty (20) calendar days after the Effective Date, and after receiving W-9 forms from the

Representative Plaintiffs, the Settlement Administrator shall disburse such funds to the

Representative Plaintiffs as awarded by the Court.



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        5.3    Settlement Independent of Award of Fees, Costs and Incentive Awards. The

payments of Attorneys’ Fees and Costs and any Incentive Awards set forth in Sections 5.1 and 5.2

are subject to and dependent upon the Court’s approval as fair, reasonable, adequate, and in the

best interests of Settlement Class Members. This Settlement, however, is not dependent or

conditioned upon the Court’s approving Plaintiffs’ and/or Class Counsel’s requests for such

payments or awarding the particular amounts sought by Plaintiff and/or Class Counsel. In the

event the Court declines Plaintiffs’ and/or Class Counsel’s requests or awards less than the

amounts sought, this Settlement will continue to be effective and enforceable by the Parties.

6.      SETTLEMENT ADMINISTRATION AND CLASS NOTICE

        6.1    All costs and expenses of administering the Settlement and providing reasonable

Class Notice in accordance with the Preliminary Approval Order shall be paid out of the Settlement

Fund.

        6.2    Responsibilities of Settlement Administrator

               6.2.1   The Settlement Administrator will facilitate the notice process by assisting

the Parties in the implementation of the Notice Plan, as well as CAFA Notice.

        6.3    Settlement Website

               6.3.1   The Settlement Administrator will create and maintain the Settlement

Website, to be activated within 30 days of Preliminary Approval. The Settlement Administrator’s

responsibilities will also include securing an appropriate URL, with approval by the Parties. The

Settlement Website will contain information about the Settlement and case-related documents such

as the Settlement Agreement, Long-Form Notice, Claim Form, Direct Mail Notice and the

Preliminary Approval Order. Settlement Class Members shall have the option to file a claim

electronically using the Settlement Website.


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               6.3.2   The Settlement Website will terminate (be removed from the internet) and

no longer be maintained by the Settlement Administrator sixty (60) days after either (a) the

Effective Date; or (b) the date on which the Settlement Agreement is terminated or otherwise not

approved in full. The Settlement Administrator will then transfer ownership of the URL to Sunrun.

               6.3.3   All costs and expenses related to the Settlement Website shall be paid out

of the Settlement Fund.

       6.4     CAFA Notice

               6.4.1   The Parties agree that the Settlement Administrator shall serve notice of the

settlement that meets the requirements of CAFA, 28 U.S.C. § 1715, on the appropriate federal and

state officials no later than 10 days after the filing of this Settlement Agreement with the Court.

               6.4.2   All costs and expenses related to the CAFA Notice shall be paid out of the

Settlement Fund.

               6.4.3   The Settlement Administrator will file a certification with the Court stating

the date(s) on which the CAFA Notices were sent. Each Party will provide the other Parties with

any substantive responses received in response to any CAFA Notice.

       6.5     Notice Plan

               6.5.1   The Class Notice shall conform to all applicable requirements of the Federal

Rules of Civil Procedure, the U.S. Constitution (including the Due Process Clauses), Cal. Civ.

Code § 1781, and any other applicable law, and shall otherwise be in the manner and form agreed

upon by the Parties and approved by the Court.




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               6.5.2   The Parties have worked collaboratively together to identify, through

reasonable means, the name and contact information, including postal and email addresses, for any

person they believe to be a Settlement Class Member.

               6.5.3   Subject to Court approval, within thirty (30) days after the Court enters the

Preliminary Approval Order, the Settlement Administrator shall send Class Notice substantially in

the form of the Short Form Notice in Exhibit B, via U.S. Postal Service, to the names and addresses

provided by the Parties to the Settlement Administrator. To the extent that the Parties have

provided email addresses for Settlement Class Members to the Settlement Administrator, the

Settlement Administrator shall also send a Short Form Notice substantially similar to Exhibit B to

the Settlement Class Members; such email notice shall also be sent within thirty (30) days after

the Court enters the Preliminary Approval Order.

7.     CLAIMS PROCESS

       7.1     Submission of Claims. Settlement Class Members must timely submit, by mail or

online, a valid Claim Form substantially in the form attached as Exhibit A by the Claims Deadline.

All Claim Forms must be postmarked or submitted to the Settlement Administrator, either in hard

copy form or electronically via the Settlement Website, by the Claims Deadline. A valid Claim

Form means a Claim Form containing all required information and which is signed by the Claimant

and is timely submitted. Any Claim Form that is not timely submitted shall be denied. In the

event a Claimant submits a Claim Form by the Claims Deadline but the Claim Form is not

complete, then the Settlement Administrator shall give such Claimant a reasonable opportunity

(by communicating with the Claimant no less than 45 days before the Effective Date) to provide

any requested missing information. For any Claimant who submits a Claim Form determined by

the Settlement Administrator to be incomplete, the Settlement Administrator may mail or email a


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notice directly to such Claimant, notifying him or her of the missing information and providing

him or her with an opportunity to cure. Claimants must cure incomplete claims on or before the

Effective Date.

       7.2     Claims Processing. The Settlement Administrator shall apply the terms of this

Settlement Agreement and the requirements set forth in the Claim Form. Any Claim Form

submitted that does not meet the requirements of this Agreement shall not be eligible to be deemed

an Approved Claim. The Settlement Administrator also shall employ reasonable procedures to

screen claims for abuse, fraud, or duplication, and shall deny Claim Forms where there is evidence

of abuse, fraud, or duplication. The Settlement Administrator’s decisions regarding the Settlement

Class Members’ eligibility for a claims payment shall be final. The Parties, the Released Parties,

and their respective counsel shall have no responsibility or liability whatsoever for the Settlement

Administrator’s conduct, omissions, or actions.

       7.3     Payment of Claims. Within sixty (60) days after the Effective Date or 60 days after

the Claims Deadline (whichever is later), or such other date as the Court may set, the Settlement

Administrator shall pay from the Settlement Fund all Approved Claims by Benefit Check made

payable to the Settlement Class Member that submitted each Approved Claim, which shall be

mailed to those Settlement Class Members via first-class mail.

       7.4     All Benefit Checks will state on their face that the check will expire and become

null and void unless cashed within one hundred eighty (180) days after the date of issuance. To

the extent that any Benefit Checks expire and become null and void, the Settlement Administrator

shall distribute the funds associated with those checks on a pro rata basis to Settlement Class

Members who submitted an Approved Claim and who cashed their Benefit Checks, if doing so is




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administratively and economically feasible (i.e., those Settlement Class Members would receive a

second distribution of more than $5 after costs of administration). Any remaining monies, if any,

shall be distributed as a cy pres award to an organization approved by the Court (as per Section

4.2.6 of this Agreement).

       7.5     No decisions by the Settlement Administrator shall be deemed to constitute a

finding, admission, or waiver by Defendants as to any matter of fact, law, or evidence having any

collateral effect on any claim hereunder or in any other proceeding or before any other forum or

authority. Further, such decisions shall not be submitted to or admissible in any other proceeding

or before any other forum or authority.

8.     RELEASES

       8.1     Upon Judgment becoming Final, Representative Plaintiffs and each Settlement

Class Member will be deemed to have, and by operation of the Judgment will have, fully, finally,

and forever released, relinquished, and discharged the Released Parties from all Released Claims.

       8.2     After execution of this Settlement Agreement, Representative Plaintiffs and/or

Settlement Class Members may discover facts other than, different from, or in addition to, those

that they know or believe to be true with respect to the Released Claims. Representative Plaintiff

and Settlement Class Members expressly waive and fully, finally, and forever settle and release

any known or unknown, suspected or unsuspected, contingent or non-contingent claims against

the Released Parties, whether or not concealed or hidden, without regard to the subsequent

discovery or existence of such other, different, or additional facts.

       8.3     With respect to the Released Claims, Representative Plaintiffs and all Settlement

Class Members expressly waive and relinquish any rights or benefits available to them under

California Civil Code § 1542, which provides:


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               A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
               WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO
               EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING
               THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST
               HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT
               WITH THE DEBTOR.

       8.4     Notwithstanding Section 1542 of the California Civil Code, or any other federal or

state statute or rule of law of similar effect, this Settlement Agreement shall be given full force

and effect according to each and all of its terms and provisions, including those related to any

unknown or unsuspected claims, liabilities, demands, or causes of action which are based on, arise

from, or are in any way connected with the Released Claims.

       8.5     Upon entry of the Final Approval Order, Representative Plaintiffs and Settlement

Class Members are hereby barred against bringing any action or claim against any of the Released

Parties for any of the Released Claims.

9.     APPROVAL PROCESS

       9.1     Court Approval

               9.1.1   On September 27, 2018, Class Counsel shall submit the Agreement together

with its Exhibits to the Court and request that the Court grant preliminary approval of the

Settlement, issue a Preliminary Approval Order, and schedule a hearing on whether the Settlement

should be granted final approval (collectively, “Motion for Preliminary Approval”).

               9.1.2   In the Motion for Preliminary Approval, Class Counsel shall request that

the Court allow for a period of at least one hundred ten (110) days between entry of the Preliminary

Approval Order and the Final Approval Hearing.

               9.1.3   The date the Motion for Preliminary Approval is filed is the date by which

the Settlement shall be deemed “filed” within the meaning of 28 U.S.C. § 1715.



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               9.1.4   If the Motion for Preliminary Approval is granted, Class Counsel shall be

responsible for asking the Court to grant final approval of the Settlement and to enter a Final

Approval Order and Judgment, in accordance with the date set by the Court for the Final Approval

Hearing.

               9.1.5   If the Court does not enter a Preliminary Approval Order or a Final

Approval Order and Judgment or if the Final Approval Order is reversed, vacated, overturned, or

rendered void by any court, this Agreement shall terminate and be of no force or effect, except as

otherwise set forth in this Agreement, unless the Parties voluntarily agree to modify this

Agreement in the manner necessary to obtain Court approval. Notwithstanding any provision of

this Agreement, the Parties agree that any decision by any court as to any Fee Award or any

Incentive Awards to the Representative Plaintiffs, described in Section 5 above, including any

decision by any court to award less than the amounts sought, shall not prevent the Agreement from

becoming effective, prevent Final Judgment from being entered, or provide any grounds for

termination of the Agreement or the Settlement.

       9.2     Procedures for Objecting to the Settlement

               9.2.1   Settlement Class Members shall have the right to appear and show cause, if

they have any reason why the terms of this Agreement should not be given final approval, subject

to each of the sub-provisions contained in this section.      Any objection to this Settlement

Agreement, including any of its terms or provisions, must be in writing, mailed to the Settlement

Administrator at the address set forth in the Class Notice, and postmarked no later than the

Objection Deadline. Settlement Class Members may object either on their own or through an

attorney hired at their own expense.




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                9.2.2   Any objection regarding or related to the Agreement shall contain a caption

or title that identifies it as “Objection to Class Settlement in Slovin v. Sunrun, Inc. et al., No. 4:15-

cv-05340-YGR” and also shall contain the following information: (i) the objector’s name, address,

and telephone number; (ii) the name, address, and telephone number of any attorney for the

objector with respect to the objection; (iii) the factual basis and legal grounds for the objection,

including any documents sufficient to establish the basis for his or her standing as a Settlement

Class Member, including the date(s) and phone number(s) at which he or she received call(s)

covered by this Settlement; and (iv) identification of the case name, case number, and court for

any prior class action lawsuit in which the objector and/or the objector’s attorney (if applicable)

has objected to a proposed class action settlement. If an objecting party chooses to appear at the

Final Approval Hearing, no later than the Objection Deadline, a notice of intention to appear, either

in person or through an attorney, must be filed with the Court and list the name, address, and

telephone number of the person and attorney, if any, who will appear.

                9.2.3   A Settlement Class Member who appears at the Final Approval Hearing,

either personally or through counsel, may be permitted to argue only those matters that were set

forth in the timely and validly submitted written objection filed by such Settlement Class Member.

No Settlement Class Member shall be permitted to raise matters at the Final Approval Hearing that

the Settlement Class Member could have, but failed to, raise in his/her written objection, and all

objections to the Settlement Agreement that are not set forth in a timely and validly submitted

written objection will be deemed waived.

                9.2.4   If a Settlement Class Member wishes to present witnesses or evidence at the

Final Approval Hearing in support of a timely and validly submitted objection, all witnesses must




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be identified in the objection, and true and correct copies of all supporting evidence must be

appended to, or filed and served with, the objection. Failure to identify witnesses or provide copies

of supporting evidence in this manner waives any right to introduce such testimony or evidence at

the Final Approval Hearing. Representative Plaintiffs or Sunrun/CEE or both may take discovery

regarding any objector, their attorney (if applicable), and the basis of any objection.

               9.2.5   Any Settlement Class Member who fails to comply with the applicable

provisions of the preceding paragraphs concerning their objection shall waive and forfeit any and

all rights he or she may have to object, appear, present witness testimony, and/or submit evidence,

shall be barred from appearing, speaking, or introducing any testimony or evidence at the Final

Approval Hearing, shall be precluded from seeking review of this Agreement by appeal or other

means, and shall be bound by all the terms of this Agreement and by all proceedings, orders and

judgments in the Litigation. By filing an objection, objectors and their counsel submit to the

jurisdiction of the Court for all purposes, including but not limited to subpoenas and discovery.

       9.3     Right to Respond to Objections

               9.3.1   Class Counsel and the Parties shall have the right, but not the obligation, to

respond to any objection no later than ten (10) days prior to the Final Approval Hearing. The Party

so responding shall file a copy of the response with the Court, and shall serve a copy, by hand or

overnight delivery, to the objector (or counsel for the objector).

       9.4     Opt Outs

               9.4.1 Any putative class member who does not wish to participate in this

Settlement must write to the Settlement Administrator stating an intention to be “excluded” from

this Settlement. This written request for exclusion must be sent via first class United States mail




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to the Settlement Administrator at the address set forth in the Class Notice and postmarked no later

than the Opt-Out Deadline. A request for exclusion must be signed by the putative class member,

and must include such individual’s name, address, and the telephone number that allegedly

received a call by or on behalf of Defendants during the Settlement Class Period, and must clearly

state that the Person wishes to be excluded from the Litigation and this Settlement and the

Agreement. A request for exclusion that does not include all of this information, or that is sent to

an address other than that designated in the Class Notice, or that is not postmarked within the time

specified, shall be invalid, and the Person serving such a request shall be a member of the

Settlement Class and shall be bound as a Settlement Class Member by the Court’s Orders in this

Litigation and by this Agreement, if approved. The request for exclusion must be personally

signed by the Person seeking to be excluded. So-called “mass” or “class” opt-outs shall not be

allowed.

               9.4.2   Any Person in the Settlement Class who submits a request for exclusion

may not file an objection to the Settlement. If a Settlement Class Member submits a written request

for exclusion pursuant to Paragraph 9.4.1 above, he or she shall be deemed to have complied with

the terms of the opt-out procedure and shall not be bound by the Agreement if approved by the

Court.

               9.4.3   After Class Notice is disseminated, the Parties shall request and seek to

obtain from the Court a Final Approval Order and Judgment, which will (among other things):

               (i)     find that the Court has personal jurisdiction over all Settlement Class
                       Members and that the Court has subject-matter jurisdiction to approve the
                       Agreement, including all exhibits hereto;

               (ii)    approve the Settlement Agreement and the proposed Settlement as fair,
                       reasonable, and adequate as to, and in the best interests of, Settlement Class
                       Members; direct the Parties and their counsel to implement and


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                      consummate the Agreement according to its terms and provisions; and
                      declare the Agreement to be binding on, and have preclusive effect on all
                      pending and future lawsuits or other proceedings maintained by or on behalf
                      of Representative Plaintiff and the Releasing Parties with respect to the
                      Released Claims;

              (iii)   find that the Class Notice and the Notice Plan implemented pursuant to the
                      Agreement (1) constitute the best practicable notice under the
                      circumstances; (2) constitute notice that is reasonably calculated, under the
                      circumstances, to apprise members of the Settlement Class of the pendency
                      of the Litigation, their right to object to or exclude themselves from the
                      proposed Settlement, and to appear at the Final Approval Hearing; (3) are
                      reasonable and constitute due, adequate, and sufficient notice to all Persons
                      entitled to receive notice; and (4) meet all applicable requirements of the
                      Federal Rules of Civil Procedure, the Due Process Clause of the United
                      States Constitution, and the rules of the Court;

              (iv)    dismiss the Litigation (including all individual claims and Settlement Class
                      Member claims asserted therein) on the merits and with prejudice, without
                      fees or costs to any Party, except as provided in the Settlement Agreement;
                      incorporate the Releases set forth above in Section 9, make those Releases
                      effective as of the date of the Final Approval Order and Judgment, and

              (v)     forever discharge the Released Parties as set forth herein; permanently bar
                      and enjoin all Settlement Class Members from filing, commencing,
                      prosecuting, intervening in, or participating (as class members or otherwise)
                      in, any lawsuit or other action in any jurisdiction related to the Released
                      Claims.

10.    TAXES

       10.1   Settlement Class Members, Representative Plaintiffs, and Class Counsel shall be

responsible for paying any and all federal, state, and local taxes due on any payments made to

them pursuant to the Settlement Agreement.

11.    TERMINATION OF AGREEMENT

       11.1   Either Plaintiffs Or Sunrun/CEE May Terminate The Agreement. Plaintiffs and

Sunrun/CEE will each have the right to unilaterally terminate this Agreement by providing written




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notice of his, her, their, or its election to do so (“Termination Notice”) to all other Parties hereto

within ten (10) calendar days of any of the following occurrences:

                 11.1.1 the Court rejects, materially modifies, materially amends or changes, or

expressly declines to issue a Preliminary Approval Order or a Final Approval Order and Judgment

with respect to the Settlement Agreement;

                 11.1.2 an appellate court reverses the Final Approval Order and Judgment, and the

Settlement Agreement is not reinstated without material change by the Court on remand;

                 11.1.3 any court incorporates into, or deletes or strikes from, or modifies, amends,

or changes, the Preliminary Approval Order, the Final Approval Order and Judgment, or the

Settlement Agreement in a way that Plaintiffs or Sunrun/CEE reasonably consider material, unless

such modification or amendment is accepted in writing by all Parties, except that, as provided

above, the Court approval of Attorneys’ Fees and Costs or any Incentive Award, or their amount,

is not a condition of the Settlement;

                 11.1.4 the Effective Date does not occur;

                 11.1.5 more than five percent (5%) of the Class opts out; or

                 11.1.6 any other ground for termination provided for elsewhere in this Agreement

occurs.

          11.2   Revert To Status Quo If Plaintiffs Or Sunrun/CEE Terminates. If either Plaintiffs

or Sunrun/CEE terminates this Agreement as provided in Section 11, the Agreement will be of no

force and effect and the Parties’ rights and defenses will be restored, without prejudice, to their

respective positions as if this Agreement had never been executed, and any orders entered by the

Court in connection with this Agreement will be vacated. However, any payments made to the




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Settlement Administrator for services rendered to the date of termination will not be refunded to

Sunrun/CEE.

       11.3    If the Settlement Agreement is not approved in full by the Court, any Party has the

option to terminate the Settlement Agreement and revert to the status quo prior to the Settlement.

12.    INJUNCTIVE RELIEF

       Sunrun and CEE agree that they shall consent to the entry of an injunction imposing certain

requirements, as described in this Section 12, that will remain in effect for a period of four years

starting on the Effective Date. For purposes of this Section 12: (a) “Telemarketing Vendor” shall

mean telemarketing lead vendors that contract with Sunrun and/or CEE, through Lead Generation

Agreements or similar contracts, to use telemarketing to generate for and/or deliver leads to Sunrun

or CEE, or use outbound telemarketing to generate or qualify leads for Sunrun or CEE; and (b)

“Complaint” shall mean an allegation by a person, in writing or orally, that identifies the person’s

grievance related to receipt of unsolicited telemarketing calls, as well as sufficient information to

contact the complaining consumer in the future and to identify the initiator of the complained-of

unsolicited telemarketing calls; to the extent a grievance is related to a call that is determined to

be compliant with the law, such grievance shall not fall within the meaning of “Complaint.”

       12.1    Sunrun agrees to oversee all CEE telemarketing activities to ensure compliance

with the TCPA.

       12.2    Sunrun and CEE agree to maintain and merge their Internal Do Not Call Lists.

       12.3    Sunrun and CEE agree to implement and maintain procedures that prevent their

respective dialing equipment from making unsolicited telemarketing calls to consumers whose

telephone numbers appear on their Internal Do Not Call Lists.




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       12.4    Sunrun and CEE agree not to contract with Telemarketing Vendors who do not

accept service of process in the United States.

       12.5    Sunrun and CEE agree to conduct a reasonable due diligence investigation of a

person or entity before allowing such person or entity to be a Telemarketing Vendor, to ensure that

the person or entity has established and actively enforces effective policies and procedures for

compliance with the TCPA.

       12.6    Sunrun and CEE agree that for any new contracts with Telemarketing Vendors,

they will add contractual provisions allowing Sunrun and/or CEE: (a) not to provide any monetary

compensation to any Telemarketing Vendor that they learn is making unsolicited telemarketing

calls in violation of the TCPA; and (b) to require a Telemarketing Vendor that is the source of ten

or more Complaints made to Sunrun/CEE to retain, at the Telemarketing Vendor’s expense, a

reputable, third party to audit the Telemarketing Vendor’s telemarketing practices.

       12.7    Sunrun and CEE agree to investigate any Complaints that are received. Sunrun and

CEE shall take all reasonable steps to obtain, record, and retain all relevant information regarding

Complaints made to them, including but not limited to: (1) the consumer’s name, address, and

telephone number; (2) the substance of the Complaint, including the name of any person

referenced; (3) the nature and result of any investigation conducted concerning the Complaint; (4)

each response to the Complaint and the date of such response to the Complaint; (5) any final

resolution of the Complaint, and the date of such resolution; (6) in the event of a denial of any

resolution, the reason for the denial; (7) if applicable, the name, telephone number, and address of

the Telemarketing Vendor that made the call that was the basis for the Complaint; (8) the date of




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the allegedly unsolicited telemarketing calls; and (9) any relevant information for determining

whether a violation of the TCPA has occurred.

       12.8    Sunrun and CEE agree to conduct, on a quarterly basis, random audits of

Telemarketing Vendors, which audits will include the review of calls and recordings from each

Telemarketing Vendor. Sunrun and CEE agree to retain an independent third-party to assist with

such audits to confirm that Telemarketing Vendors have: (a) obtained “prior express written

consent,” to the extent required by law; and (b) scrubbed phone numbers called against the

National Do Not Call Registry and against cell phone databases, as required by law.

       12.9    Sunrun and CEE agree, that for any new contracts with Telemarketing Vendors,

they will add contractual provisions to require that all Telemarketing Vendors: (a) identify

themselves by name on telemarketing calls with consumers; (b) to agree that they will not attempt

to mislead consumers as to their identities, including by claiming that they are calling from a

business entity that does not exist; and (c) comply with requirements governing the registration of

fictitious names.

       12.10 None of the provisions of this Section 12 (or any other provision of this

Agreement), nor conduct by Sunrun/CEE to comply with the terms of Section 12, shall be used as

evidence that Sunrun/CEE controls any Telemarketing Vendor, that any Telemarketing Vendor is

an agent of Sunrun/CEE, or that Sunrun/CEE is otherwise legally responsible for alleged violations

of the TCPA by any Telemarketing Vendor.

       12.11 Prior to any party seeking to enforce this Section 12 through court action, if such

party believes that Sunrun/CEE has not complied with this Section 12, then such party shall notify

Sunrun/CEE, through counsel of record, of the alleged breach. Any such notice shall set forth with




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specificity the aspects of the alleged breach and proposed remedies for such alleged breach.

Sunrun/CEE shall have 60 days to cure such alleged breach, without any admission of any breach,

and without any liability or consequence.

13.    NO ADMISSION OF LIABILITY

       13.1    Sunrun/CEE deny any liability or wrongdoing of any kind associated with the

alleged claims in the Complaint. Sunrun/CEE have denied and continue to deny each and every

material factual allegation and all claims asserted against them in the Action. Nothing in this

Settlement Agreement will constitute an admission of wrongdoing or liability, or of the truth of

any allegations in the Action. Nothing in this Settlement Agreement will constitute an admission

by Sunrun/CEE that the Action is properly brought on a class or representative basis, or that classes

may be certified, other than for settlement purposes. To this end, the Settlement of the Action, the

negotiation and execution of this Agreement, and all acts performed or documents executed

pursuant to or in furtherance of the Settlement: (i) are not and will not be deemed to be, and may

not be used as, an admission or evidence of any wrongdoing or liability on the part of Sunrun/CEE

or of the truth of any of the allegations in the Action; (ii) are not and will not be deemed to be, and

may not be used as an admission or evidence of any fault or omission on the part of Sunrun/CEE

in any civil, criminal, or administrative proceeding in any court, arbitration forum, administrative

agency, or other tribunal; and (iii) are not and will not be deemed to be and may not be used as an

admission of the appropriateness of these or similar claims for class certification.

       13.2    Pursuant to Federal Rule of Evidence Rule 408 and any similar provisions under

the laws of any state, neither this Agreement nor any related documents filed or created in

connection with this Agreement will be admissible in evidence in any proceeding, except as

necessary to approve, interpret, or enforce this Agreement.


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         13.3   The Parties agree that all information obtained from or provided by Sunrun/CEE in

connection with this Settlement Agreement and its negotiation shall be kept confidential and that

such information shall be used on only for the purposes allowed by this Settlement Agreement and

for no other purpose.

         13.4   If any Party or attorney is contacted by a member of the press or other person

seeking a public comment on the Settlement, the Party or attorney may provide the inquiring party

with only the details of the Settlement which is in the public record. No Parties, or their agents,

shall inaccurately characterize the terms of the Settlement or the Agreement. The Parties agree

that nothing in this Settlement Agreement shall be construed to prohibit communications between

Sunrun/CEE and any of the Released Parties initiated by the Released Parties or that may occur in

the ordinary course of Sunrun’s/CEE’s business.

14.      CONDITIONS FOR EFFECTIVE DATE; EFFECT OF TERMINATION

         14.1   The Effective Date of this Agreement shall be the date the Judgment has become

Final.

         14.2   If this Agreement is not approved by the Court or the Settlement is terminated or

fails to become effective in accordance with the terms of this Agreement, the Settling Parties will

be restored to their respective positions in the Litigation as of September 27, 2018. In such event,

the terms and provisions of this Agreement will have no further force and effect with respect to

the Settling Parties and will not be used in this Litigation or in any other proceeding for any

purpose, and any Judgment or order entered by the Court in accordance with the terms of this

Agreement will be treated as vacated.

         14.3   The Parties agree to request a stay of the Litigation pending approval of the

Settlement.


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15.     MISCELLANEOUS PROVISIONS

        15.1    Cooperation of the Parties: The Parties acknowledge that it is their intent to

consummate this Agreement, and they agree to cooperate to the extent reasonably necessary to

effectuate and implement all terms and conditions of this Agreement and to exercise their best

efforts to accomplish the foregoing terms and conditions of this Agreement. The Parties agree that

they will not solicit, facilitate, or assist in any way, requests for exclusions or objections by putative

or actual Settlement Class Members. Class Counsel recognize that they have an obligation to

support the Settlement and to seek the Court’s approval of its terms. Class Counsel will abide by

all applicable and governing ethical rules, opinions, and obligations precluding their representation

of opt-outs.

        15.2    Resolution of Dispute without Admission: The Parties intend the Settlement to be

a final and complete resolution of all disputes between them with respect to the Litigation. The

Settlement covers claims that are contested and will not be deemed an admission by any Party as

to the merits of any claim or defense.

        15.3    Use In Subsequent Proceedings: Neither this Agreement nor the Settlement, nor

any act performed or document executed pursuant to or in furtherance of this Agreement or the

Settlement is or may be deemed to be or may be used as an admission of, or evidence of, the

validity of any Released Claims, or of any wrongdoing or liability of Defendants; or is or may be

deemed to be an admission of, or evidence of, any fault or omission of Defendants in any civil,

criminal, or administrative proceeding in any court, administrative agency or other tribunal. Any

party to this Litigation may file this Agreement and/or the Judgment in any action that may be

brought against it in order to support any defense or counterclaim, including without limitation

those based on principles of res judicata, collateral estoppel, release, good faith settlement,


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judgment bar or reduction, or any other theory of claim preclusion or issue preclusion or similar

defense or counterclaim.

       15.4    Confidential Information: All agreements made and orders entered during the

course of the Litigation relating to the confidentiality of information will survive this Agreement.

       15.5    Destruction of Discovery Received from Defendants: The Parties acknowledge that

they have agreed to abide by the Stipulated Protective Order entered into and adopted by the Court

on June 10, 2016, and in particular, the paragraphs with respect to the duration of the Order and

the destruction of documents.

       15.6    Incorporation of Exhibits: Any and all Exhibits to this Agreement are material and

integral parts hereof and are fully incorporated herein by this reference.

       15.7    Modification: This Agreement may be amended or modified only by a written

instrument signed by or on behalf of all Parties or their respective successors-in-interest.

       15.8    Integration: This Agreement and any Exhibits attached hereto constitute the entire

agreement among the Parties, and no representations, warranties, or inducements have been made

to any Party concerning this Agreement or its Exhibits other than the representations, warranties,

and covenants covered and memorialized in such documents. Except as otherwise provided herein,

the Parties will bear their own respective costs.

       15.9    Class Counsel’s Authority: Class Counsel, on behalf of the Settlement Class, are

expressly authorized by the Representative Plaintiffs to take all appropriate action required or

permitted to be taken by the Settlement Class pursuant to this Agreement to effectuate its terms,

and are expressly authorized to enter into any modifications or amendments to this Agreement on

behalf of the Settlement Class.




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       15.10 Parties’ Authority: Each counsel or other Person executing this Agreement or any

of its Exhibits on behalf of any Party hereby warrants that such Person has the full authority to do

so.

       15.11 Counterparts: This Agreement may be executed in one or more counterparts. All

executed counterparts will be deemed to be one and the same instrument.

       15.12 No Prior Assignments: Representative Plaintiff and Class Counsel represent,

covenant, and warrant that they have not directly or indirectly assigned, transferred, encumbered,

or purported to assign, transfer, or encumber any portion of any liability, claim, demand, action,

cause of action or rights herein released and discharged except as set forth herein.

       15.13 Binding on Assigns: This Agreement will be binding upon, and inure to the benefit

of, the successors and assigns of the Parties and the Settlement Class Members.

       15.14 Publicity: Except for the notice provisions set forth in the Order of Preliminary

Approval and except as required to comply with any applicable law, rule or regulation or to comply

with a Court order, the Parties agree that there will be no press releases regarding the Settlement

and neither side will initiate contact with the media.

       15.15 Interpretation: None of the Parties, or their respective counsel, will be deemed the

drafter of this Agreement or its Exhibits for purposes of construing the provisions thereof. The

language in all parts of this Agreement and its Exhibits will be interpreted according to its fair

meaning, and will not be interpreted for or against any of the Parties as the drafter thereof.

       15.16 Governing Law: This Agreement and any Exhibits hereto will be construed and

enforced in accordance with, and governed by, the internal, substantive laws of the State of




                                                 36
       Case 4:15-cv-05340-YGR Document 196 Filed 01/29/19 Page 51 of 89



California without giving effect to that State’s choice-of-law principles. The headings used herein

are used for the purpose of convenience only and are not meant to have legal effect.

       15.17 No Waiver: The waiver by one Party of any breach of this Agreement by any other

Party shall not be deemed as a waiver of any other prior or subsequent breaches of this Agreement.

       IN WITNESS WHEREOF, the Parties have executed and cause this Agreement to be

executed by their duly authorized attorneys.




                                                37
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Dated: September 26, 2018

FOR THE PLAINTIFFS:


PARISI & HAVENS LLP                          PARASMO LIEBERMAN LAW




         C. Parisi                           Grace Parasmo
Suzanne Havens Beckman                       Yitzchak H. Lieberman
212 Marine Street, Suite 100                 7400 Hollywood Blvd., #505
Santa Monica, CA 90405                       Los Angeles, CA 90046
Counselfor Plaintiffs                        Counselfor Plaintiffs



Lynn Slovin                                  Samuel Katz




Jeffery Price                                Justin Birkhofer




FOR THE DEFENDANTS:


KELLEY DRYE & WARREN LLP




Lauri A. Mazzuchetti {pro hac vice)
Jeffrey S. Jacobson {pro hac vice)
Glenn T. Graham {pro hac vice)
One Jefferson Road, 2"'* Floor
Parsippany, New Jersey 07054
Counselfor Defendants


SUNRUN INC.                                  CLEAN ENERGY EXPERTS,LLC




Name:                                        Name:
Title:                                       Title:
         Case 4:15-cv-05340-YGR Document 196 Filed 01/29/19 Page 53 of 89



Dated: September 26, 2018

FOR THE PLAINTIFFS:

PARISI & HAVENS LLP                           PARASMO LIEBERMAN LAW



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Counsel for Plaintiffs                        Counsel for Plaintiffs



Lynn Slovin                                  Samuel Katz



Jeffery Price                                Justin Birkhofer


FOR THE DEFENDANTS:

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Glenn T. Graham (pro hac vice)
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Counsel for Defendants


SUNRUN INC.                                   CLEAN ENERGY EXPERTS, LLC



Name:                                        Name:
Title:                                       Title:
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                      Case 4:15-cv-05340-YGR Document 196 Filed 01/29/19 Page 54 of 89



             Dated: September 26, 2018

             FOR THE PLAINTIFFS:

             PARISI & HAVENS LLP                                    PARASMO LIEBERMAN LAW



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             Santa Monica, CA 90405                                 Los Angeles, CA 90046
             Counsel for Plaintiffs                                 Counsel for Plaintiffs

                                        9/26/2018 6:14:01 PM PDT

             Lynn Slovin                                            Samuel Katz

                                         9/26/2018 2:04:40 PM PDT                       9/26/2018 3:50:40 PM PDT

             Jeffery Price                                          Justin Birkhofer


             FOR THE DEFENDANTS:

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             Jeffrey S. Jacobson (pro hac vice)
             Glenn T. Graham (pro hac vice)
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             Counsel for Defendants


             SUNRUN INC.                                            CLEAN ENERGY EXPERTS, LLC



             Name:                                                  Name:
             Title:                                                 Title:
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                       Case 4:15-cv-05340-YGR Document 196 Filed 01/29/19 Page 55 of 89



              Dated: September 26, 2018

              FOR THE PLAINTIFFS:

              PARISI & HAVENS LLP                            PARASMO LIEBERMAN LAW



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              Santa Monica, CA 90405                         Los Angeles, CA 90046
              Counsel for Plaintiffs                         Counsel for Plaintiffs

                                                                                          9/27/2018 9:01:51 AM PDT

              Lynn Slovin                                    Samuel Katz



              Jeffery Price                                  Justin Birkhofer


              FOR THE DEFENDANTS:

              KELLEY DRYE & WARREN LLP



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              Jeffrey S. Jacobson (pro hac vice)
              Glenn T. Graham (pro hac vice)
              One Jefferson Road, 2nd Floor
              Parsippany, New Jersey 07054
              Counsel for Defendants


              SUNRUN INC.                                    CLEAN ENERGY EXPERTS, LLC



              Name:                                          Name:
              Title:                                         Title:
    Case 4:15-cv-05340-YGR Document 196 Filed 01/29/19 Page 56 of 89




Dated: September 26, 2018

FOR THE PLAINTIFFS:

PARISI & HAVENS LLP                     PARASMO LIEBERMAN LAW



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Counsel for Plaintiffs                   Counsel for Plaintiffs



Lynn Slovin                             Samuel Katz



Jeffery Price                           Justin Birkhofer


FOR THE DEFENDANTS:

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Counsel for Defendants


SUNRUN INC.                              CLEAN ENERGY EXPERTS, LLC



Name:                                   Name:
Title:                                  Title:
Case 4:15-cv-05340-YGR Document 196 Filed 01/29/19 Page 57 of 89
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Exhibit 2
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                         UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF CALIFORNIA


LYNN SLOVIN, an individual, on her own              Case No. 4:15-cv-05340-YGR
behalf and on behalf of all others similarly
situated,                                           Hon. Yvonne Gonzalez Rogers
                  Plaintiff,

        v.
SUNRUN, INC., a California corporation,
CLEAN ENERGY EXPERTS, LLC, a
California limited liability company doing
business as SOLAR AMERICA, and DOES 1-5,
inclusive,

                  Defendants.


                                      AMENDMENT TO

                 STIPULATION AND AGREEMENT OF SETTLEMENT

               It is hereby stipulated and agreed by and among the undersigned Parties, subject to

the approval of the Court, that the Settlement Agreement entered into by the Parties, which has

been filed and designated ECF Docket No. 189-3, is amended as follows:

       1.      Slovin, et al. v. Sunrun, Inc. et al., No. 4:15-cv-05340-YGR (the “Action”), was

filed November 20, 2015, and is currently pending before the Honorable Yvonne Gonzalez

Rogers of the U.S. District Court for the Northern District of California. The Complaint in the

Action alleges claims against Sunrun Inc. (“Sunrun”) and Clean Energy Experts, LLC (“CEE”)

(collectively, “Sunrun/CEE” or “Defendants”) under the Telephone Consumer Protection Act, 47

U.S.C. § 227 et seq.




                                                1
       Case 4:15-cv-05340-YGR Document 196 Filed 01/29/19 Page 60 of 89



       2.      A hearing on Plaintiffs’ motion for preliminary approval was held on November

27, 2018.

       3.      The Parties now amend the Settlement Agreement by replacing Exhibits A, B, D

and E with the exhibits attached hereto as Exhibits A, B, D and E. These Exhibits are

specifically referred to as follows:

               Exhibit A       Online Claim Form

               Exhibit B       Direct Mail Notice, also referred to as the “Short Form
                               Notice”

               Exhibit D       Long Form Notice

               Exhibit E       Proposed Preliminary Approval Order

       4.      Section 2.1.41 is amended as follows:

       2.1.41 “Released Claims” shall mean any and all claims, liabilities, demands, causes of

action, or lawsuits of the Releasing Parties, whether known or unknown, whether legal, statutory,

equitable, or of any other type or form, whether under federal, state, or local law, and whether

brought in an individual, representative, or any other capacity, of every nature and description

whatsoever that were brought in the Litigation or could have been brought in the Litigation

relating in any way to calls by, from, or on behalf of Sunrun or CEE or from a third party

generating leads for Sunrun or CEE, including but not limited to claims for any alleged TCPA

violation or any other telephone or telemarketing-related federal, state or local law, regulation or

ordinance, and claims that in any way relate to automated calls (e.g., those made using an ATDS

and/or artificial or prerecorded voice to cell phone numbers).

       5.      Section 6.3.2 is amended as follows:




                                                 2
       Case 4:15-cv-05340-YGR Document 196 Filed 01/29/19 Page 61 of 89



       6.3.2   The Settlement Website will terminate (be removed from the internet) and no

longer be maintained by the Settlement Administrator one hundred eighty (180) sixty (60) days

after the later of either (a) ten days past the last date on which Benefit Checks expirethe Effective

Date; or (b) the date on which the Settlement Agreement is terminated or otherwise not approved

in full. The Settlement Administrator will then transfer ownership of the URL to Sunrun.

       6.      Section 9.2.1 is amended as follows:

               9.2.1   Settlement Class Members shall have the right to appear and show cause,

if they have any reason why the terms of this Agreement should not be given final approval,

subject to each of the sub-provisions contained in this section. Any objection to this Settlement

Agreement, including any of its terms or provisions, must be in writing, submitted to the Court

either by mailing them to the Class Action Clerk, United States District Court for the Northern

District of California, 1301 Clay Street, Oakland, CA 94612, or by filing them in person at any

location of the United States District Court for the Northern District of Californiamailed to the

Settlement Administrator at the address set forth in the Class Notice, and postmarked no later

than the Objection Deadline. Settlement Class Members may object either on their own or

through an attorney hired at their own expense.

       IN WITNESS WHEREOF, the Parties have executed and cause this Agreement to be

executed by their duly authorized attorneys.




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                      Case 4:15-cv-05340-YGR Document 196 Filed 01/29/19 Page 62 of 89




              Dated: January 11, 2019
              FOR THE PLAINTIFFS:

              PARISI & HAVENS LLP                             PARASMO LIEBERMAN LAW



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              Suzanne Havens Beckman                          Yitzchak H. Lieberman
              212 Marine Street, Suite 100                    7400 Hollywood Blvd., #505
              Santa Monica, CA 90405                          Los Angeles, CA 90046
              Counsel for Plaintiffs                          Counsel for Plaintiffs



             Lynn Slovin                                     Samuel Katz



             Jeffery Price                                   Justin Birkhofer


             FOR THE DEFENDANTS:

             KELLEY DRYE & WARREN LLP



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             Jeffrey S. Jacobson (pro hac vice)
             Glenn T. Graham (pro hac vice)
             One Jefferson Road, 2nd Floor
             Parsippany, New Jersey 07054
             Counsel for Defendants


             SUNRUN INC.                                      CLEAN ENERGY EXPERTS, LLC



             Name:                                           Name:
             Title:                                          Title:
Case 4:15-cv-05340-YGR Document 196 Filed 01/29/19 Page 63 of 89
Case 4:15-cv-05340-YGR Document 196 Filed 01/29/19 Page 64 of 89




                    Exhibit A
        (Online Claim Form Revised)
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                             Slovin, et al. v. Sunrun, Inc. et al.,
              In the United States District Court for the Northern District of California
                                   Case No. 4:15-cv-05340-YGR
                                      Online Claim Form

If you are a Class Member and wish to receive a payment, your completed Claim Form must be
         postmarked on or before [Claims Deadline], or submitted online at [web site]
                              on or before [Claims Deadline].


Please read the full notice of this Settlement (available at [website]) carefully before filling out
this Claim Form.


CLAIMANT INFORMATION

Provide your name and contact information below. It is your responsibility to notify the
Settlement Administrator of any changes to your contact information after the submission of
your Claim Form.


FIRST NAME                                                 LAST NAME


STREET ADDRESS


CITY                                          STATE                 ZIP CODE


CURRENT TELEPHONE NUMBER               TELEPHONE NUMBER AT WHICH CALL(S) WERE RECEIVED
                                       (You must use separate claim forms for different telephone numbers.)


EMAIL ADDRESS

By submitting this Claim Form, I certify that: (1) I believe that I am member of the Settlement
Class; and (2) I received one or more phone calls marketing solar products between November
20, 2011 and August 31, 2018 on the telephone number identified above.

I wish to receive any payment from this settlement       by check or      by credit to my PayPal
account with the above email address.
I also certify that this is the only claim that I am submitting in connection with the above
telephone number.
       Case 4:15-cv-05340-YGR Document 196 Filed 01/29/19 Page 66 of 89




Signature: __________________________ Date (mm/dd/yyyy): __ __/ __ __/ __ __ __ __
               [Typed for online version]

                                   Agree and Submit Online

You may also mail this completed Claim Form to:

       Mailing Address
       Claims Administrator

  Your claim will be submitted to the Claims Administrator for review. If accepted you will receive
  funds electronically or by mail, as described in the Settlement Agreement and Release, which is
              available at www.------.com. This process takes time, please be patient.

                  Please keep a copy of your Claim Form for your records.
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                    Exhibit B
         (Short Form Notice Revised)
Case 4:15-cv-05340-YGR Document      196 Filed 01/29/19 Page First-Class
                          Slovin v. Sunrun, Inc., et al.
                                                             68 of 89
       COURT AUTHORIZED                                  Claims Administrator                                           Mail
     NOTICE OF CLASS ACTION                              P.O. Box ______                                             US Postage
    AND PROPOSED SETTLEMENT                              _________, ___, _______                                        Paid
                                                                                                                     Permit #__

 Records indicate you may have
  received a call marketing solar
 products between November 20,
2011 and August 31, 2018, and a
class action settlement may affect
            your rights.
                                                         «Barcode»
You Could Get Money From                                 Postal Service: Please do not mark barcode

 A Class Action Settlement                               Claim #: BFG -«ClaimID» «MailRec»
      If You Return
                                                         «First1» «Last1»
     This Claim Form.                                    «CO»
                                                         «Addr1» «Addr2»
                                                         «City», «ST» «Zip»
                                                         «Country»

XXX
                                           SETTLEMENT CLAIM FORM
   THIS CLAIM FORM MUST BE POSTMARKED BY ______, 2019 AND MUST BE FULLY COMPLETED.
                           You may also submit your claim online at www.   .com
Instructions: Fill out each section of this form and sign where indicated.

«Barcode»
Claim #: XXX-«ClaimID» - «MailRec»                                          Name/Address Change, if any:
«First1» «Last1»
«Addr1» «Addr2»
«City», «St» «Zip»
Email Address:                                 Contact Phone #: (___ ___ ___) ___ ___ ___ – ___ ___ ___ ___
    (Please provide an email and phone number where you may be contacted if further information is required.)
I certify that: (1) I believe that I am member of the Settlement Class; and (2) I received one or more phone calls
marketing solar products between November 20, 2011 and August 31, 2018 on the following telephone number:
«Phone». I also certify that this is the only claim that I am submitting in connection with the above telephone
number.
I wish to receive any payment from this settlement        by check or      by credit to my PayPal account with the above
email address.

Signature: __________________________________________ Date (mm/dd/yyyy): __ __/ __ __/ __ __ __ __
Print Name: ____________________________________
  Your claim will be submitted to the Claims Administrator for review. If accepted you will receive funds, as described in the
Settlement Agreement and Release, which is available on the website below. This process takes time, please be patient.
                        Questions, visit www.                    .com or call 1-XXX-XXX-XXXX
                                                                                                   XXXXXXX

           *XXX«ClaimID»*                                  «ClaimID»
Case 4:15-cv-05340-YGR Document 196 Filed 01/29/19 Page 69 of 89
                          In the United States District Court for the Northern District of California
                                       Slovin v. Sunrun, Inc., et al., 4:15-cv-05340-YGR
A settlement has been reached in a class action lawsuit called Slovin v. Sunrun. The lawsuit alleges that telemarketing calls
made by or on behalf of Sunrun and/or Clean Energy Experts d/b/a Solar America, violated the Telephone Consumer
Protection Act. Sunrun and Clean Energy Experts maintain that they did not make unauthorized telephone calls, the lawsuit
is without merit and were prepared to vigorously defend all aspects of it.
Who is included? The Settlement Class includes all persons in the United States who, from November 20, 2011 to August
31, 2018, received from or on behalf of Sunrun and/or Clean Energy Experts, or from a third party generating leads for
Sunrun and/or Clean Energy Experts: (1) one or more calls on their cellphones, or (2) at least two telemarketing calls during
any 12-month period where their phone numbers appeared on a National or State Do Not Call Registry or Sunrun’s and/or
Clean Energy Experts’s Internal Do Not Call List more than 30 days before the calls.
What are the Settlement Terms? A Settlement Fund of $5,500,000 has been established to pay valid claims, plus
administrative fees, attorneys’ fees, and costs up to $2,380,000, and incentive awards of up to $40,000 to each of the 4 Class
Representatives. Additionally, Sunrun and Clean Energy Experts will change their practices related to telephone sales
practices. Class Counsel estimate you will receive between $100 and $250, which is less than the $500 to $1,500 per call
you might have been awarded if Plaintiffs had won at trial. Each Class Member will receive the same amount per phone
number called. The amount received will depend on the number of Settlement Class members who submit valid claims.
How to receive payment? To receive a cash award, sign and return the attached Claim Form. Claims Forms can be
submitted by mail or online at www.________________.com. All Claim Forms must be postmarked or
submitted online by ____________, 2019. You should provide the 8-digit Claim ID appearing above your name on the
address side of this postcard for online or mail submissions.
Exclude yourself: If you do not want to be legally bound by the Settlement, you must exclude yourself by sending a signed
written request for exclusion to the Court postmarked by _________, 2019 and mailed to Settlement Administrator
address. If you do not exclude yourself, you will release any claims you may have against Sunrun and Clean Energy Experts,
and you will not be able to sue them.
Object yourself: Your objection must be postmarked by _______, 2019. Objections must be signed, provide the reasons
for the objection, and specify if the objection applies only to the objector, to a specific subset of the class, or to the entire
class. Objections must be mailed to Class Action Clerk, U.S.D.C. Northern District of Calif., 1301 Clay Street, Oakland, CA
94612. Please visit www.                     .com for specific details.
Final Approval: The Court will hold a hearing on __________, 2019, at _____ p.m., at the United States District Court for
the Northern District of California, Courtroom One, 4th Floor, 1301 Clay Street, Oakland, CA 94612, to consider whether to
approve the Settlement. You may appear at the hearing, either yourself or through an attorney hired by you, but you are not
required to do so. For more information, call 1-XXX-XXX-XXXX, or visit www.                        .com.



                                       Return Postage Page
Case 4:15-cv-05340-YGR Document 196 Filed 01/29/19 Page 70 of 89




                      Exhibit C
         Case 4:15-cv-05340-YGR Document 196 Filed 01/29/19 Page 71 of 89



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11                               UNITED STATES DISTRICT COURT
12                            NORTHERN DISTRICT OF CALIFORNIA

13   LYNN SLOVIN, an individual, on her own         Case No. 4:15-cv-05340-YGR
     behalf and on behalf of all others similarly
14   situated,                                      Hon. Yvonne Gonzalez Rogers
15                                                  JUDGMENT AND ORDER
                             Plaintiff,
                                                    GRANTING FINAL APPROVAL OF
16                                                  CLASS ACTION SETTLEMENT
             v.
17                                                  TAC Filed:      July 12, 2016
     SUNRUN, INC., a California corporation,
                                                    Trial Date:     None Set
18   CLEAN ENERGY EXPERTS, LLC, a
     California limited liability company doing
19   business as SOLAR AMERICA, and DOES 1
     through 5, inclusive,
20

21                           Defendants.

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      Case 4:15-cv-05340-YGR Document 196 Filed 01/29/19 Page 72 of 89



 1                    (PROPOSED) FINAL APPROVAL ORDER AND JUDGMENT

 2           1.       Plaintiffs Lynn Slovin, Samuel Katz, Jeffrey Price, and Justin Birkhofer (collectively
 3   “Plaintiffs” or “Representative Plaintiffs”), Sunrun, Inc. (“Sunrun”) and Clean Energy Experts, LLC
 4   (“CEE”) (collectively, “Sunrun/CEE” or “Defendants”), and the Settlement Class (collectively, the
 5   “Parties”) reached a settlement. The Parties have submitted a detailed written Stipulation and
 6   Agreement of Settlement (the “Settlement” or “Settlement Agreement”) together with numerous
 7   exhibits and proposed orders. To the extent not otherwise defined herein, all capitalized terms shall
 8   have the meanings attributed to them in the Settlement Agreement. The Court gave its preliminary
 9   approval of the Settlement on ___________, 201_ (the “Preliminary Approval Order”). The Court
10   directed the Parties to provide Class Notice of the proposed Settlement by Direct Mail Notice and
11   Long Form Notice on the Settlement Website, and scheduled a further hearing to determine whether
12   the proposed Settlement is fair, reasonable, and adequate.
13           2.       On ___________, 2019, this Court held a hearing to determine whether the proposed
14   Settlement Agreement executed by Plaintiffs and Defendants should be approved as Final by this
15   Court. Counsel for the Plaintiffs and the Settlement Class and counsel for Defendants appeared at
16   the hearing.
17           3.       After reviewing the pleadings and evidence filed in support of the request for final
18   approval of the Settlement and conducting the hearing, the Court finds, and
19   IT IS ORDERED, ADJUDGED, AND DECREED AS FOLLOWS:
20           4.       This Final Approval Order and Judgment incorporates the Settlement Agreement and
21   all exhibits thereto.
22           5.       The Court has personal jurisdiction over all Settlement Class Members and
23   Defendants, and the Court has subject matter jurisdiction to approve the Settlement Agreement and
24   all exhibits thereto.
25           6.       Based upon the record before the Court, including all submissions in support of the
26   Settlement Agreement, objections and responses thereto, as well as the Settlement Agreement itself,
27   the Court hereby certifies the following nationwide class (the “Settlement Class”) for settlement
28   purposes only:
                                                        1
      Case 4:15-cv-05340-YGR Document 196 Filed 01/29/19 Page 73 of 89



 1          “Settlement Class” means all persons in the United States, from November 20, 2011
            to August 31, 2018, who received from or on behalf of Sunrun and/or CEE, or from
 2          a third party generating leads for Sunrun and/or CEE: (1) one or more calls on their
            cellphones, or (2) at least two telemarketing calls during any 12-month period where
 3
            their phone numbers appeared on a National or State Do Not Call Registry or
 4          Sunrun’s and/or CEE’s Internal Do Not Call List more than 30 days before the calls.

 5   The class definition excludes the following:

 6          (1) any trial judge and other judicial officers that may preside over this case; (2) the
            Mediators; (3) Sunrun/CEE, as well as any parent, subsidiary, affiliate or control
 7          person of Sunrun/CEE, and the officers, directors, agents, servants or employees of
 8          Sunrun/CEE; (4) any of the Released Parties; (5) any Settlement Class Member who
            has timely submitted a Request for Exclusion by the Opt-Out Deadline; (6) any
 9          person or entity who has previously given a valid release of the claims asserted in
            the Action; (7) Plaintiffs’ Counsel; and (8) persons for whom CEE or Sunrun has a
10          record demonstrating “prior express written consent,” as defined by the TCPA.
11          The Court finds that the prerequisites of Fed. R. Civ. P. 23(a) and (b)(3) have been satisfied
12   for certification of the nationwide Settlement Class for settlement purposes because: Settlement
13   Class Members are so numerous that joinder of all members is impracticable; there are questions of
14   law and fact common to the Settlement Class; the claims and defenses of the Representative
15   Plaintiffs are typical of the claims and defenses of the Settlement Class Members they represent; the
16   Representative Plaintiffs have fairly and adequately protected the interests of the Settlement Class
17   with regard to the claims of the Settlement Class they represent; the common questions of law and
18   fact predominate over questions affecting only individual Settlement Class Members, rendering the
19   Settlement Class sufficiently cohesive to warrant a nationwide class settlement; and the certification
20   of the Settlement Class is superior to individual litigation and/or settlement as a method for the fair
21   and efficient resolution of this matter. In making all of the foregoing findings, the Court has
22   exercised its discretion in certifying the Settlement Class, based, inter alia, upon the Court’s
23   familiarity with the claims and Parties in this case, and the mediation and negotiation process
24   overseen by the Honorable Edward A. Infante (Ret.), JAMS mediator Bruce Friedman, Esq., and
25   Magistrate Judge Jacqueline Scott Corley.
26          7.      The Settlement Agreement was reached after arm’s-length negotiations between the
27   Representative Plaintiffs, Defendants, and their respective counsel. The Settlement Agreement is
28   fair, reasonable, and adequate; consistent with and in compliance with all applicable requirements

                                                        2
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 1   of the Federal Rules of Civil Procedure, the United States Code, and the United States Constitution

 2   (including the Due Process Clause), and any other applicable law; and in the best interests of

 3   Plaintiffs, Defendants, and the Settlement Class Members.

 4          8.      The Settlement is fair, reasonable, adequate and satisfies the requirements under Fed.

 5   R. Civ. P. 23.    Therefore, each Settlement Class Member will be bound by the Settlement

 6   Agreement, including the Release and the covenant not to sue set forth in Section 8 of the Settlement

 7   Agreement.

 8          9.      The Court finds that in negotiating, entering into, and implementing the Settlement,

 9   the Representative Plaintiffs and the Class Counsel have fairly and adequately represented and

10   protected the interests of all of the Settlement Class Members.

11          10.     The Class Notice and the notice methodology implemented pursuant to the

12   Settlement Agreement: (i) constituted the best practicable notice; (ii) constituted notice that was

13   concise, clear and in plain, easily understood language and was reasonably calculated, under the

14   circumstances, to apprise Settlement Class Members of the pendency of the Action, the claims,

15   issues and defenses of the Settlement Class, the definition of the Settlement Class certified, their

16   right to be excluded from the Settlement Class, their right to object to the proposed Settlement, their

17   right to appear at the Final Approval Hearing, through counsel if desired, and the binding effect of

18   a judgment on Settlement Class Members; (iii) were reasonable and constituted due, adequate, and

19   sufficient notice to all persons entitled to receive notice; and (iv) met all applicable requirements of

20   the Federal Rules of Civil Procedure, the United States Code, the United States Constitution

21   (including the Due Process Clause), and any other applicable law.

22          11.     The terms of the Settlement Agreement and this Final Approval Order and Judgment

23   are binding on the Representative Plaintiffs and all other Settlement Class Members, as well as their

24   heirs, executors and administrators, successors and assigns.

25          12.     The terms of the Settlement Agreement and this Final Approval Order and Judgment

26   shall have res judicata, collateral estoppel and all other preclusive effect in any and all claims for

27   relief, causes of action, suits, petitions, demands in law or equity, or any allegations of liability,

28   damages, debts, contracts, agreements, obligations, promises, attorneys’ fees, costs, interests, or

                                                        3
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 1   expenses which are based on or in any way related to any and all claims for relief, causes of action,

 2   suits, petitions, demands in law or equity, or any allegations of liability, damages, debts, contracts,

 3   agreements, obligations, promises, attorneys’ fees, costs, interest, or expenses which were asserted

 4   in the Action.

 5          13.       The Representative Plaintiffs, Defendants, and their respective counsel are ordered

 6   to implement and to consummate the Settlement Agreement according to its terms and provisions.

 7          14.       All claims against Defendants asserted in this Action, are hereby dismissed on the

 8   merits and with prejudice, without fees or costs to any party except as provided in the Settlement

 9   Agreement.

10          15.       The releases set forth in Section 8 of the Settlement Agreement are incorporated by

11   reference and provides, inter alia, that for and in consideration of the Cash Benefits, the Released

12   Claims, and the mutual promises contained in the Settlement Agreement, Representative Plaintiffs

13   and the Settlement Class Members, on behalf of themselves and their respective assigns, heirs,

14   executors, administrators, successors, and agents, and representatives, fully and finally release, as

15   of the date the Final Approval Order and Judgment becomes Final, Sunrun/CEE and the Released

16   Parties from any and all claims, causes of action, suits, obligations, debts, demands, agreements,

17   promises, liabilities, damages, losses, controversies, costs, expenses, and attorneys’ fees of any

18   nature whatsoever, whether based on any federal law, state law, common law, territorial law, tribal

19   law, foreign law, contract, rule, regulation, any regulatory promulgation (including, but not limited

20   to, any opinion or declaratory ruling), common law, or equity, whether known or unknown,

21   suspected or unsuspected, asserted or unasserted, foreseen or unforeseen, actual or contingent,

22   liquidated or unliquidated, punitive or compensatory, which were asserted in the Action or any other

23   claims under state or federal law which arise from, are based on or in any way related to the Action

24   or the Released Claims.

25          16.       The Court hereby grants Class Counsel’s request for an Incentive Award for the

26   Representative Plaintiffs in the amount of $___________ each. The Court has considered Class

27   Counsel’s Motion for an Award of Attorney’s Fees and Costs and additionally grants as reasonable

28   and justified Class Counsel’s request for Attorney’s Fees of $_______ and out of pocket costs

                                                        4
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 1   incurred of $_________.

 2          17.     The Court further approves the establishment of the Settlement Fund as set forth in

 3   the Settlement Agreement submitted by the Parties.

 4          18.     This Settlement Fund will constitute Sunrun/CEE’s exclusive payment obligation

 5   under the Settlement Agreement and will be used to pay: (a) Cash Benefits paid to Settlement Class

 6   Members, as prescribed by the Settlement Agreement; (b) Attorneys’ Fees and Costs, as awarded

 7   by the Court; (c) any Incentive Award awarded to Lynn Slovin, Samuel Katz, Jeffrey Price, and

 8   Justin Birkhofer; (d) Settlement Administration Costs, including costs of notice (including CAFA

 9   Notice); and (e) any cy pres payment to Electronic Frontier Foundation pursuant to the procedures

10   described in Section 7.4 of the Settlement Agreement. No portion of the Settlement Fund will be

11   returned to Sunrun/CEE, except as provided in Section 11 of the Settlement Agreement, Termination

12   of the Agreement.

13          19.     Any distribution of the Settlement Fund to the Settlement Class or any other person,

14   other than the Settlement Administrator pursuant to the terms hereof, shall commence only after the

15   Effective Date. The Aggregate Fees, Costs, and Expenses shall be paid from the Settlement Fund

16   prior to any distribution of Cash Benefits to the Settlement Class. The remainder of the Settlement

17   Fund shall be used to pay Cash Benefits in accordance with the rules set forth herein.

18          20.     If any amounts remain in the Settlement Fund because Settlement Members fail to

19   negotiate their respective Benefit Checks, such unclaimed monies shall be distributed as follows:

20   (a) to the Settlement Class Members who cashed their initial Benefits Checks, to the extent such a

21   distribution is administratively and economically feasible; and if not so feasible, (b) to Electronic

22   Frontier Foundation, the cy pres designated recipient as appointed by the Court. No portion of the

23   Settlement Fund will be returned to Sunrun/CEE, except as provided in Section 11 of the Settlement

24   Agreement, Termination of the Agreement.

25          21.     The Court further approves the establishment of the Settlement Fund as set forth in

26   the Agreement.

27          22.     The Court finds that the Settlement Fund is a “qualified settlement fund” as defined

28   in Section l.468B-1(c) of the Treasury Regulations in that it satisfies each of the following

                                                       5
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 1   requirements:

 2                   (a)    The escrow account for the Settlement Fund is established pursuant to the

 3   Preliminary Approval Order and is subject to the continuing jurisdiction of this Court;

 4                   (b)    The escrow account for the Settlement Fund is established to resolve or

 5   satisfy one or more Claims that have resulted or may result from an event that has occurred and that

 6   has given rise to at least one Claim asserting liability arising out of an alleged violation of law; and

 7                   (c)    The assets of the escrow account for the Settlement Fund are segregated from

 8   other assets of Sunrun/CEE, the transferors of the payment to the Settlement Fund.

 9          23.      Under the “relation back” rule provide under Section 1.468B-1(j)(2)(i) of the

10   Treasury Regulations, the Court finds that:
11
                     (a)    The escrow account for the Settlement Fund met the requirements of
12
     paragraph 22 of this Order prior to the date of this Order approving the establishment of the
13
     Settlement Fund subject to the continued jurisdiction of this Court; and
14
                     (b)    Defendants and the Settlement Administrator may jointly elect to treat the
15
     escrow account for the Settlement Fund as coming into existence as a “qualified settlement fund”
16
     on the later of the date the escrow account for the Settlement Fund met the requirements of paragraph
17
     22 of this Order or January 1 of the calendar year in which all of the requirements of paragraph 22
18
     of this Order are met. If such a relation-back election is made, the assets held by the escrow account
19
     for the Settlement Fund on such date shall be treated as having been transferred to the escrow
20
     account for the Settlement Fund on that date.
21
            24.      Nothing in this Final Approval Order and Judgment, the Settlement Agreement, or
22
     any documents or statements related thereto, is or shall be deemed or construed to be an admission
23
     or evidence of any violation of any statute or law, or of any liability or wrongdoing by Defendants.
24
            25.      In the event that the Settlement Agreement does not become effective according to
25
     its terms, this Final Approval Order and Judgment shall be rendered null and void as provided by
26
     the Settlement Agreement, shall be vacated and, all orders entered and released delivered in
27
     connection herewith shall be null and void to the extent provided by and in accordance with the
28
     Settlement Agreement.

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 1           26.     No Settlement Class Member, either directly, representatively, or in any other

 2   capacity (other than a Settlement Class Member who validly and timely submitted a Request for

 3   Exclusion), shall commence, continue, or prosecute any action or proceeding against Defendants or

 4   any or all Released Parties in any court or tribunal asserting any of the Released Claims defined in

 5   the Settlement Agreement, and are hereby permanently enjoined from so proceeding.

 6           27.     Without affecting the finality of the Final Approval Order and Judgment, the Court

 7   shall retain continuing jurisdiction over the Action, the Parties, and the administration and

 8   enforcement of the Settlement Agreement. Any disputes or controversies arising with respect to the

 9   interpretation, administration, implementation, effectuation, and enforcement of the Settlement

10   Agreement shall be presented by motion to the Court, provided, however, that nothing in this

11   paragraph shall restrict the ability of the Parties to exercise their rights, as set forth above.

12           28.     There being no just reason to delay, the Clerk is directed to enter this Final Approval

13   Order and Judgment forthwith.

14

15
     DATED:
16

17

18                                   Yvonne Gonzalez Rogers, United States District Court Judge
19

20

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                    Exhibit D
         (Long Form Notice Revised)
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                           UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

 If you received a call from or on behalf of Sunrun, Inc., Clean Energy
 Experts, LLC d/b/a Solar America, or from a third party generating
 leads for Sunrun or Clean Energy Experts, you could receive a cash
 payment from a class action settlement.
A Federal Court authorized this notice. You are not being sued. This is not a
   solicitation from a lawyer.


          YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT

SUBMIT THE CLAIM              The only way to receive a payment. By participating in the
FORM                          settlement, you will be bound by the terms of the Settlement
                              Agreement and will give up certain rights.
EXCLUDE YOURSELF BY           You will receive no payment, but you will retain any rights you
________                      currently have to sue Sunrun and/or Clean Energy Experts
                              about the issues in this case. Your request to exclude yourself
                              must be postmarked by __________.
OBJECT BY ________            Write to the Court and explain why you do not like the
                              Settlement. Your objection must be postmarked by __________.
ATTEND A HEARING              Ask to speak in Court about the fairness of the Settlement.

DO NOTHING                    You will not get a share of the Settlement benefits and will give
                              up your rights to sue Sunrun and Clean Energy Experts about the
                              issues in this case.




                QUESTIONS? CALL [NUMBER] TOLL FREE, OR [WEBSITE]
                                          1
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  •   A proposed settlement has been reached in a class action lawsuit called Slovin, et
      al. v. Sunrun, Inc. et al. The lawsuit alleges that telemarketing calls made by or on
      behalf of Sunrun Inc. (“Sunrun”) and Clean Energy Experts, LLC (“Clean Energy
      Experts”) violated the Telephone Consumer Protection Act, 47 U.S.C. § 227
      (“TCPA”). Sunrun/Clean Energy Experts maintain that they did not make any
      unauthorized calls, the lawsuit is without merit, and they were prepared to
      vigorously defend all aspects of it.

  •   You are included if, at any time between approximately November 20, 2011 to
      August 31, 2018, you received from or on behalf of Sunrun and/or Clean Energy
      Experts, or from a third party generating leads for Sunrun and/or Clean Energy
      Experts: (1) one or more calls on your cellphone, or (2) at least two telemarketing
      calls during any 12-month period where your phone numbers appeared on a
      National or State Do Not Call Registry or Sunrun’s and/or Clean Energy Experts’s
      Internal Do Not Call List more than 30 days before the calls.

  •   If the Court approves the Settlement, you may be eligible to receive a single payment
      for each telephone number on which you received call(s). Your payment amount will
      depend on how many Settlement Class Members submit valid Claim Forms. The
      Settlement Fund will be divided and distributed equally—sometimes referred to as
      “pro rata”—to all Settlement Class Members who submit a valid Claim Form after
      attorneys’ fees, costs and expenses, any award for the Representative Plaintiffs, and
      notice and administration costs have been deducted.

  •   Please read this notice carefully. Your legal rights are affected whether you act or
      don’t act. These rights and options—and the deadlines to exercise them—are
      explained in this Notice.


The Court in charge of this case still has to decide whether to approve the Settlement. Payments
will be provided only after any issues with the Settlement are resolved. Please be patient.




                    QUESTIONS? CALL [NUMBER] TOLL FREE, OR [WEBSITE]
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                                    BASIC INFORMATION

 1. Why was this Notice issued?

A Court authorized this Notice to let you know about a proposed Settlement with Sunrun and
Clean Energy Experts. You have legal rights and options that you may exercise before the Court
decides whether to approve the proposed Settlement. This Notice explains the Lawsuit, the
Settlement, and your legal rights.

Judge Yvonne Gonzalez Rogers of the U.S. District Court for the Northern District of California
is overseeing this class action. The case is captioned as Slovin, et al. v. Sunrun, Inc. et al., No.
4:15-cv-05340-YGR. The individuals who sued are called the Representative Plaintiffs. The
companies they sued, Sunrun Inc. and Clean Energy Experts, LLC, are called the Defendants.

 2. What is a class action lawsuit?

In a class action, one or more “Representative Plaintiffs” sue on behalf of a group of people who
have similar claims. In this case and under this Settlement, these people are together called a
“Settlement Class” or “Settlement Class Members.” In a class action, the court resolves the
issues for all Settlement Class Members, except for those who exclude themselves from the
Settlement Class. After the parties reached an agreement to settle this case, the Court recognized
it as a case that may be treated as a class action for settlement purposes only.

                 THE CLAIMS IN THE LAWSUIT AND THE SETTLEMENT

 3. What is this lawsuit about?

The lawsuit alleges that Defendants and/or others acting on their behalf and/or third parties
generating leads for Defendants made marketing calls to consumers. The lawsuit alleges that the
Defendants violated the Telephone Consumer Protection Act because some consumers did not
agree to receive these calls, or because the calls were made using an automatic telephone dialing
system. Under the Telephone Consumer Protection Act, a person is entitled to receive up to
$500 for calls that were placed using an automated telephone dialing system without the person’s
consent. A person is entitled to receive up to $500 per call for calls placed to telephone numbers
registered on the National Do-Not-Call Registry or companies internal do not call list without
that person’s consent. If the person proves the calls were placed willfully, the person is entitled
to triple the amount awarded up to $1,500.

The Defendants deny the allegations and maintain that they have strong, meritorious defenses to
the claims. The Settlement is not an admission of, and does not establish any, wrongdoing by
Sunrun or Clean Energy Experts.



                    QUESTIONS? CALL [NUMBER] TOLL FREE, OR [WEBSITE]
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More information about the complaint in the lawsuit and the Defendants’ answer can be found in
the “Court Documents” section of the Settlement website at [website].

 4. Why is there a Settlement?

The Court has not decided whether the Representative Plaintiffs or Defendants should win this
case. Instead, both sides agreed to a Settlement. The Representative Plaintiffs and their
attorneys (“Class Counsel”) believe that the Settlement is in the best interests of the Settlement
Class Members.

                       WHO’S INCLUDED IN THE SETTLEMENT?

 5. How do I know if I am in the Settlement Class?
The Court decided that this Settlement includes a Class of all persons in the United States who,
from November 20, 2011 to August 31, 2018, received from or on behalf of Sunrun and/or Clean
Energy Experts, or from a third party generating leads for Sunrun and/or Clean Energy Experts:
(1) one or more calls on their cellphones, or (2) at least two telemarketing calls during any 12-
month period where their phone numbers appeared on a National or State Do Not Call Registry
or Sunrun’s and/or Clean Energy Experts’s Internal Do Not Call List more than 30 days before
the calls.

The following are excluded from the Settlement Class: (1) any trial judge and other judicial
officers that may preside over this case; (2) the Mediators (3) Sunrun/Clean Energy Experts, as
well as any parent, subsidiary, affiliate or control person of Sunrun/Clean Energy Experts, and
the officers, directors, agents, servants or employees of Sunrun/Clean Energy Experts; (4) any of
the Released Parties; (5) any Settlement Class Member who has timely submitted a Request for
Exclusion by the Opt-Out Deadline; (6) any person or entity who has previously given a valid
release of the claims asserted in the Action; (7) Plaintiffs’ Counsel; and (8) persons for whom
Clean Energy Experts or Sunrun has a record demonstrating “prior express written consent,” as
defined by the TCPA.

Everyone who fits this description, who is not excluded as per the above, is a member of the
Settlement Class.

If you received a postcard about this class action, your phone number may be one of the numbers
that was called.

 6. What were the allegedly unsolicited calls about?

The calls covered by this Settlement were allegedly made by or on behalf of Sunrun/Clean
Energy Experts, or from a third party generating leads for Sunrun/Clean Energy Experts, in an
attempt to offer solar energy products.


                    QUESTIONS? CALL [NUMBER] TOLL FREE, OR [WEBSITE]
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                                 THE SETTLEMENT BENEFITS

 7. What does the Settlement provide?

As part of the Settlement, Defendants have agreed to create a $5,500,000 Settlement Fund. The
Settlement Fund will be used to pay all valid claims, costs of administering the Settlement,
attorneys’ fees and costs, and any incentive payments to the Representative Plaintiffs.
Additionally, Defendants have agreed to change their practices related to telemarketing.

Under the Settlement Agreement, Settlement Class Members must request a payment by
submitting by mail or online a valid Claim Form saying that they received an unsolicited call and
providing all the information requested in the Claim Form. Further details are below.

                                    HOW TO GET BENEFITS

 8. How do I make a claim?

The Settlement creates a claims process. You can get the Claim Form on this website or by
calling [Settlement Administrator number]. The Claim Form may be submitted online or by U.S.
Mail sent to [address]. If you file a valid Claim Form and your claim is approved, you will
receive a single payment for each telephone number that you received call(s) on. Your payment
amount will depend on how many Settlement Class Members submit valid Claim Forms. The
Settlement Fund will be divided and distributed equally—sometimes referred to as “pro rata”—
to all Settlement Class Members who submit a valid Claim Form after attorneys’ fees, costs and
expenses, any award for the Representative Plaintiffs, and notice and administration costs have
been deducted.

The Claim Form requires you to provide your name, address, and the telephone number that you
received the call(s) on. You must verify that you are a member of the Settlement Class and the
telephone number on which you received unsolicited calls from or on behalf of Sunrun and/or
Clean Energy Experts.

All Claim Forms must be received (or postmarked if mailed) and properly completed by
[claims deadline].

  9. How much will payment be?

Your share of the settlement will depend on the number of Claim Forms that Class Members submit and
other factors. Class Counsel estimate you will receive between approximately $100 and $250, but this is
only an estimate.




                     QUESTIONS? CALL [NUMBER] TOLL FREE, OR [WEBSITE]
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  10. When will I get my payment?

The hearing to consider the final fairness of the Settlement is scheduled for [insert Final
Approval Hearing date]. If the Court approves the Settlement, and after any appeals process is
completed, eligible Settlement Class Members whose claims were approved will be sent a check
in the mail or receive funds electronically. If Final Approval is granted, payments will be issued
no sooner than ______. Please be patient. All checks will expire and become void 180 days
after they are issued.

                           THE LAWYERS REPRESENTING YOU

  11. Do I have a lawyer in this case?

Yes, the Court has appointed lawyers Yitzchak H. Lieberman and Grace E. Parasmo of Parasmo
Lieberman Law and David C. Parisi and Suzanne Havens Beckman of Parisi & Havens LLP as
the attorneys to represent you and other Settlement Class Members. These attorneys are called
“Class Counsel.” In addition, the Court appointed plaintiffs Lynn Slovin, Samuel Katz, Jeffery
Price, and Justin Birkhofer to serve as the Representative Plaintiffs. They are Settlement Class
Members like you.

  12. Should I get my own lawyer?
You do not need to hire your own lawyer. Class Counsel is working on your behalf. However,
if you want your own lawyer, you will have to pay that lawyer. For example, you can ask your
lawyer to appear in Court for you, at your own expense, if you want someone other than Class
Counsel to represent you.

  13. How will the lawyers be paid?

Class Counsel will ask the Court for attorneys’ fees, costs, and expenses, totaling up to
$2,380,000, and will also request an award of up to $40,000 each for the Representative
Plaintiffs. The Court will determine the proper amount of any attorneys’ fees, costs, and
expenses to award Class Counsel and the proper amount of any award to the Representative
Plaintiffs. The Court may award less than the amounts requested by Class Counsel and the
Representative Plaintiffs, and any money not awarded from these requests will stay in the
Settlement Fund to pay Settlement Class Members.

Neither Sunrun nor Clean Energy Experts has made any agreement with Plaintiffs or Class
Counsel as to the amounts that either will receive for attorneys’ fees, costs, and expenses or for
incentive awards, respectively.

Class Counsel will file with the Court and post on the Settlement website its request for
attorneys’ fees, costs and expenses, and incentive awards by [date].


                    QUESTIONS? CALL [NUMBER] TOLL FREE, OR [WEBSITE]
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                               YOUR RIGHTS AND OPTIONS

  14. What happens if I do nothing?

If you do nothing, you will receive no payment under the Settlement, you will be in the
Settlement Class, and if the Court approves the Settlement, you will also be bound by all orders
and judgments of the Court. Also, unless you exclude yourself, you won’t be able to start a
lawsuit or be part of any other lawsuit against the Defendants for the claims being resolved by
this Settlement.

 15. What happens if I ask to be excluded?
If you exclude yourself from the Settlement, you cannot claim any money or receive any benefits
as a result of the Settlement. You will keep your right to bring your own separate lawsuit against
the Defendants for the claims resolved in this Settlement. You will not be legally bound by the
Court’s judgments related to the Settlement Class in this class action.

 16. How do I ask to be excluded?
You can ask to be excluded from the Settlement. To do so, you must send a letter clearly stating
that you want to be excluded from the Settlement in Slovin, et al. v. Sunrun, Inc. et al., No. 4:15-
cv-05340-YGR. Your letter must also include your name, address, your current phone number,
and the phone number that you contend you received the call(s) on, and your signature. You
must mail your exclusion request no later than [objection / exclusion deadline] to:

                                    [Settlement Administrator]
                                             Address
                                             Address


You cannot exclude yourself by phone, fax or email.

 17. If I don’t exclude myself, can I sue the Defendants for the same thing later?

No. Unless you exclude yourself, you give up any right to sue Defendants for the claims being
resolved by this Settlement.

 18. If I exclude myself, can I get anything from this Settlement?

No. If you exclude yourself, you may not submit a Claim Form to ask for a payment.

 19. How do I object to the Settlement?

If you are a Settlement Class Member and you do not exclude yourself from the Settlement
Class, you can object to the Settlement if you do not like any part of it. You must give reasons

                    QUESTIONS? CALL [NUMBER] TOLL FREE, OR [WEBSITE]
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why you think the Court should deny approval by filing an objection. You cannot ask the Court
to order a larger or different settlement; the Court can only approve or deny the Settlement. If
the Court denies approval, no settlement payments will be sent out, and the Lawsuit will
continue. If that is what you want to happen, you must object in writing. The Court will consider
your views. Your objection and supporting papers must include:

   1. A caption or title that identifies it as “Objection to Class Settlement in Slovin, et al. v.
      Sunrun, Inc. et al., No. 4:15-cv-05340-YGR,”

   2. Your full name, address, and telephone number;

   3. The name, address, and telephone number of any attorney representing you with respect
      to the objection;

   4. A statement of whether the objection applies only to the objector, to a specific subset of
      the class, or to the entire class.

   5. The specific factual basis and legal grounds for the objection, including any documents
      sufficient to establish the basis for your standing as a Settlement Class Member,
      including the date(s) and phone number(s) at which you received the calls covered by this
      Settlement; and

   6. The case name, case number, and court for any prior class action lawsuit in which you
      and your attorney (if applicable) have objected to a proposed class action settlement.

   Your written objection must be signed and dated, and postmarked no later than _____. You
   must mail your objection to the Court at:

                                       Class Action Clerk
                                    United States Courthouse
                                  Northern District of California
                                        1301 Clay Street
                                       Oakland, CA 94612

If, in addition to submitting a written objection to the Settlement, you wish to appear and be
heard at the Final Approval Hearing on the fairness of the Settlement, you must file by [Opt-Out
Deadline] a notice of intention to appear with the Court and list the name, address, and telephone
number of the attorney, if any, who will appear on your behalf.

  20. What’s the difference between objecting and excluding myself from the
  Settlement?

Objecting simply means telling the Court that you do not like something about the Settlement.
You can object only if you stay in the Settlement Class (i.e., you do not exclude yourself from


                    QUESTIONS? CALL [NUMBER] TOLL FREE, OR [WEBSITE]
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the Settlement). Excluding yourself from the Settlement Class is telling the Court that you do
not want to be part of the Settlement Class. If you exclude yourself, you have no basis to object
because the case no longer affects you.

                           THE COURT’S FAIRNESS HEARING

  21. When and where will the Court hold a hearing on the fairness of the Settlement?

A Final Approval Hearing has been set for [date] at [time], before the Honorable Yvonne
Gonzalez Rogers at Oakland Courthouse, Courtroom 1, 4th floor, 1301 Clay Street, Oakland, CA
94612. At the hearing, the Court will hear any objections, and arguments concerning the fairness
of the proposed Settlement, including the amount requested by Class Counsel for attorneys’ fees,
costs and expenses and the incentive awards to the Representative Plaintiffs.

Note: The date and time of the fairness hearing are subject to change by Court Order, but any
changes will be posted at the Settlement website, [website], or through the Court’s Public Access
to Court Electronic Records (PACER) system at https://ecf.cand.uscourts.gov.

  22. Do I have to come to the hearing?

No. Class Counsel will answer any questions the Court may have, but you are welcome to
come at your own expense. If you send an objection, you do not have to come to Court to
talk about it. As long as your written objection was filed or mailed on time and meets the
other criteria described in the Settlement Agreement, the Court will consider it. You may
also pay another lawyer to attend, but you do not have to.

    23. May I speak at the hearing?

If you do not exclude yourself from the Settlement Class, you may ask the Court for permission
to speak at the hearing concerning any part of the proposed Settlement by asking to speak about your
objection, filed by following the instructions above in section 19.

                               GETTING MORE INFORMATION

    24. Where can I get additional information?

This notice summarizes the proposed Settlement. For the precise terms and conditions of the
Settlement, please see the Settlement Agreement available at [website], by contacting Class
Counsel at [phone number], by accessing the Court docket in this case through the Court’s
PACER system at https://ecf. cand.uscourts.gov, or by visiting the office of the Clerk of the
Court for the United States District Court for the Northern District of California, 1301 Clay
Street, Oakland, California 94612 between 9:00 a.m. and 4:00 p.m., Monday through Friday,
excluding Court holidays.

                    QUESTIONS? CALL [NUMBER] TOLL FREE, OR [WEBSITE]
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PLEASE DO NOT CONTACT THE COURT, THE JUDGE, OR THE DEFENDANTS
   WITH QUESTIONS ABOUT THE SETTLEMENT OR CLAIMS PROCESS




            QUESTIONS? CALL [NUMBER] TOLL FREE, OR [WEBSITE]
                                 10
